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5                                                                CLERK U.S. BANKRUPTCY COURT
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7                              OPINION NOT FOR PUBLICATION
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                         UNITED STATES BANKRUPTCY COURT
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                             CENTRAL DISTRICT OF CALIFORNIA
10
                                  LOS ANGELES DIVISION
11
      In re:                                  Case No. 2:13-bk-14135-RK
12
                                              Chapter 11
13    ART & ARCHITECTURE BOOKS OF
      THE 21st CENTURY,                       Adv. No. 2:15-ap-01679-RK
14
                                     Debtor. Consolidated with Adv. No. 2:14-ap-01771-RK
15
                                             and Adv. No. 2:15-ap-01680-RK
16
                                              MEMORANDUM DECISION ON MOTION
17
                                              FOR PARTIAL SUMMARY JUDGMENT
18                                            REGARDING: (1) ALLEGED PRE-PETITION
                                              DIRECT RENT PAYMENTS FOM DEBTOR
19                                            TO 400 S. LA BREA, LLC BASED ON
20                                            STATUTE OF LIMITATIONS; (2) ALL PRE-
                                              PETITION AVOIDANCE CAUSES OF
21                                            ACTION ASSERTED DIRECTLY AGAINST
                                              400 S. LA BREA, LLC; (3) ALLEGED PRE-
22                                            PETITION PREFERENTIAL TRANSFERS TO
23                                            400 S. LA BREA, LLC; AND (4)
                                              CONVERSION CLAIM ASSERTED
24                                            AGAINST 400 S. LA BREA, LLC; ORDER
                                              THEREON
25
      SAM LESLIE, PLAN AGENT FOR ART &
26    ARCHITECTURE BOOKS OF THE 21st          Hearings
      CENTURY,                                Date: October 20, 2021 and October 29,2021
27                                            Time: 2:00 p.m.
                                     Plaintiff, Hearings conducted via Zoom for Government
28
           vs.



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1
      ACE GALLERY NEW YORK
2     CORPORATION, et al.,

3
4                                      Defendants.
      400 S. LA BREA, LLC,
5
                               Cross-Complainant,
6
7        vs.

8     ACE GALLERY NEW YORK
      CORPORATION, et al.,
9
10                              Cross-Defendants.

11
                                           BACKGROUND
12
               Pending before this court in this adversary proceeding is the Motion of
13
     Defendants/Cross-Complainants 400 S. La Brea, LLC, Daryoush Dayan, Kamran
14
     Gharibian and Michael Smith (“Defendants” or collectively referred to as the “400 S. La
15
     Brea Parties”) for Partial Summary Judgment Regarding: (1) Alleged Pre-petition Direct
16
     Rent Payments from the Debtor to 400 S. La Brea, LLC Based on Statute of Limitations;
17
     (2) All Pre-petition Avoidance Causes of Action Asserted Directly Against 400 S. La
18
     Brea, LLC; (3) Alleged Pre-petition Preferential Transfers to 400 S. La Brea, LLC; and
19
     (4) Conversion Claims Asserted Against 400 S. La Brea, LLC, Electronic Case Filing
20
     Number (“ECF”) 1032 (“motion”), filed on July 12, 2021, which it had taken under
21
     submission after conducting hearings on the motion on October 20, 2021 and October
22
     29, 2021 and the filing of supplemental briefs on the “relation back” doctrine under
23
     Federal Rule of Civil Procedure 15(c)(1)(B) last filed on November 21, 2021, ECF 1170
24
     and 1173.
25
               Based on the record, it appears to the court that unless equitable tolling applies,
26
     the two-year statute of limitations under 11 U.S.C. § 546(a)(1) expired on February 19,
27
     2015 for bringing transfer avoidance claims against the 400 S. La Brea Parties, though
28
     the statute of limitations was extended as to other parties to June 19, 2016. The first



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1    transfer avoidance claims against any of the 400 S. La Brea Parties were filed on
2    January 23, 2017 in the Plan Agent’s Third Amended Consolidated Complaint, which
3    was after the expiration of the statute of limitations as to them. Accordingly, the 400 S.
4    La Brea Parties seek partial summary judgment as to the so-called Direct Prepetition
5    Rent Transfers, i.e., the direct payments of rent from the Debtor to 400 S. La Brea, LLC,
6    on behalf of Ace Museum to pay Ace Museum’s rent obligations under the lease it had
7    with 400 S. La Brea, LLC.
8           On December 13, 2016, the Plan Agent filed his motion for leave to file a Third
9    Amended Consolidated Complaint in these consolidated adversary proceedings, Adv.
10   No. 2:15-ap-01679-RK, ECF 60, which formally named the 400 S. La Brea, LLC as a
11   defendant in these adversary proceedings for the first time. The claims against the 400
12   S. La Brea, LLC included claims for avoidance of preferential and fraudulent transfers
13   by Debtor to them and recovery and preservation of fraudulently transferred property
14   under 11 U.S.C, §§ 544, 547, 548, 550 and 551. The motion stated the purpose of
15   adding 400 S. La Brea, LLC, as a new defendant as follows:
16
                      By this Motion, the Plan Agent also requests leave to amend the Second
17          Amended Complaint, in substantially the form of the redlined Third Amended
            Complaint attached hereto as Exhibit A, to: (i) consolidate the causes of action in
18          each of the pending Related Adversary Proceedings; (ii) to add further
            defendants who were the transferees of funds belonging to the Debtor's estate;
19
            (iii) to add further factual allegations derived from the Plan Agent's ongoing
20          forensic analysis; and (iv) to simplify the complaint by consolidating related and
            overlapping claims for relief brought under 11 U.S.C. §§ 549, 550 and 551. The
21          additional defendants to be added in the Third Amended Complaint are the
22          following transferees: (i) 400 S. La Brea, LLC; (ii) the Nunley Family Trust; and
            (iii) Trizec 5670 Wilshire, LLC, a Delaware limited liability company (collectively,
23          the "Landlord Defendants"). The Plan Agent's investigation has revealed that
            each of the Landlord Defendants received funds belonging to the Debtor – both
24          prepetition and postpetition – for the payment of rent in relation to facilities that
25          were not occupied by the Debtor, from which the Debtor received no value, and
            without postpetition authorization of this Court. The total amount of funds
26          transferred to the Landlord Defendants in violation of 11 U.S.C. § 549, or as a
            prepetition fraudulent transfer, remains to be finalized, but is in the millions of
27          dollars.
28   Motion for Leave to File Third Amended Consolidated Complaint, ECF 60, at 14-15


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1    (internal page citation 8-9). On January 13, 2017, the court entered its order granting
2    the Plan Agent’s motion for leave to file the Third Amended Consolidated Complaint,
3    and on January 23, 2017, the Plan Agent formally filed the Third Amended Consolidated
4    Complaint. ECF 65 and 69.
5           Paragraph 30 of the Third Amended Consolidated Complaint, ECF 69, alleges
6    avoidable prepetition transfers of Debtor’s funds to 400 S. La Brea directly and
7    indirectly, specifically over $2 million in direct payment transfers:
8
                   30. Additionally, there were significant prepetition transfers from the
9           Debtor to defendant Ace Museum, from the Debtor to defendant Douglas
            Chrismas, from the Debtor to 400 S. La Brea, and from Debtor to other
10          defendants and third parties which transfers were without consideration in favor
            of the Debtor and came at a time when the Debtor was insolvent or was rendered
11
            insolvent by such transfers. Within two years of the Petition Date, the Debtor
12          made at least the following direct transfers (the "Direct La Brea Rent Transfers")
            to 400 S. La Brea for which the Debtor received no consideration:
13
14                 Date           Check/Wire         Amount
                   4/13/11        Check 3979         $125,000.00
15                 4/22/11        Check 3980         $15,867.00
                   9/28/11        Wire (c/o Fortuna Management) $137,500.00
16                 10/04/11       Wire (c/o Fortuna Management) $137,500.00
17                 10/21/11       Wire               $125,000.00
                   10/24/11       Wire               $110,000.00
18                 11/17/11       Wire (c/o Fortuna Management) $247,500.00
                   12/23/11       Wire (c/o Fortuna Management) $137,525.00
19                 12/27/11       Wire (c/o Fortuna Management) $139,961.45
20                 01/25/12       Wire               $75,000.00
                   01/31/12       Wire               $28,904.57
21                 02/03/12       Wire               $50,000.00
                   03/02/12       Wire               $12,500.00
22                 03/26/12       Wire               $72,000.00
23                 04/05/12       Wire               $36,031.28
                   04/12/12       Wire               $36,000.00
24                 05/08/12       Wire               $280,186.00
                   06/05/12       Wire               $142,279.21
25
                   08/03/12       Wire               $125,000.00
26                 10/23/12       Check 6913         $137,000.00
                   02/07/13       Wire               $25,000.00
27                 TOTAL:                            $2,195,754.51
28
                   Without limitation, the payments received directly from the Debtor from


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            May 2012 forward came at a time when the Debtor was simultaneously
1
            defaulting on its rental obligations to AERC.
2           Paragraphs 41 through 45 of the Third Amended Consolidated Complaint, ECF
3    69, allege that Debtor made avoidable prepetition transfers to Ace Museum, which
4    included direct and indirect rent payments on Ace Museum’s behalf to 400 S. La Brea,
5    LLC:
6
                    41. Plaintiff alleges that, consistent with the Museum Board Resolution,
7           Ace Museum borrowed, or otherwise obtained, from the Debtor, and the Debtor
            lent, or otherwise transferred, to Ace Museum, funds in the aggregate of no less
8
            than $4,482,586.00 (the “Museum Loan”), which amounts included some or all of
9           the AERC Payment, and that Ace Museum became indebted to the Debtor on
            account of the Museum Loan in at least that amount (the “Museum Loan
10          Obligation”). Plaintiff further alleges that that the Museum Loan, and other pre-
11          petition transfers that were not part of the Museum Loan, were provided or made
            pursuant to one or more transfers of the Debtor’s funds from the Debtor to Ace
12          Museum since July 9, 2009 or such other later date or dates before the Petition
            Date (defined below) (each, an “Ace Museum Pre-Petition Transfer” and,
13          collectively, the “Ace Museum Pre-Petition Transfers”), and that the Debtor used
14          the AERC Payment to fund a portion of the Ace Pre-Petition Museum Transfers.

15                 42. Plaintiff alleges that Chrismas alone determined on behalf of the
            Debtor that the Debtor would make the Museum Loan to Ace Museum and alone
16          decided on behalf of the Debtor when and whether the Debtor would transfer any
17          funds to Ace Museum, including, but not limited to, the decision to use the AERC
            Payment to make the Ace Museum Pre-Petition Transfers. Plaintiff further
18          alleges that that, given the Museum Board Resolution and Chrismas’s controlling
            position within Ace Museum, Ace Museum and the Ace Museum Board
19          conspired with Chrismas, and otherwise was complicit with Chrismas’s decision,
20          to make the Ace Museum Pre-Petition Transfers, including, but not limited to, the
            transfer of a portion of the AERC Payment to Ace Museum.
21
                    43. Plaintiff alleges that at the time or as a result of each of the Ace
22
            Museum PrePetition Transfers, the Debtor was or became insolvent, was left
23          with an unreasonably small capital to engage in its business, and/or otherwise
            was not paying or became unable to pay its debts as such debts matured.
24          Plaintiff further alleges that that each of the Ace Museum PrePetition Transfers
            was a transfer of property of the Debtor for which the Debtor receive no value, or
25
            did not receive reasonably equivalent value.
26
                   44. Plaintiff alleges that Ace Museum paid most, if not all, of the funds that
27          comprised the Ace Museum Pre-Petition Transfers to 400 S. La Brea for, among
28          other things, payment of monthly rent due on the Museum Real Property (the
            “Indirect La Brea Rent Transfers”), for which the Debtor received no value, or no


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            reasonably equivalent value. The Indirect La Brea Rent Transfers were in
1
            addition to the Direct La Brea Transfers that were made directly by the Debtor to
2           400 S. La Brea. Plaintiff alleges that at the time or as a result of each of the
            Indirect La Brea Rent Transfers, the Debtor was or became insolvent, was left
3           with an unreasonably small capital to engage in its business, and/or otherwise
            was not paying or became unable to pay its debts as such debts matured.
4
5                  45. Through discovery conducted prior to the commencement of the
            instant adversary proceeding, Ace Museum produced tax returns for 2010 and
6           2011, which demonstrate that, whatever business was being done by Ace
7           Museum, that business, at least as of the end of 2011, was insufficient on an
            annual basis to pay more than a couple months of base rent on the La Brea
8           Property.
9                    46. Plaintiff is informed and believes, and based thereon alleges: (i) that
10          400 S. La Brea knew, or should have known, that Ace Museum did not conduct
            its purported business in a manner that would have raised the funds that
11          comprised the Indirect La Brea Rent Transfers, and would be avoidable transfers
            if the true source of the funds were to file a chapter 11 petition; (ii) that 400 S. La
12          Brea knew or should have known that the Direct La Brea Rent Transfers were
13          not paid on account of a service or product from which the Debtor would obtain
            value, and would be avoidable if the Debtor were to file a chapter 11 petition; and
14          (iii) that 400 S. La Brea's receipt of the Indirect La Brea Rent Transfers and the
            Direct La Brea Rent Transfers was not in good faith.
15
            These allegations were the bases of the Plan Agent’s eighth through fifteenth
16
     claims for relief for fraudulent and preferential transfers and recovery and preservation
17
     of such transfers pursuant to 11 U.S.C. §§ 544, 547, 548, 550 and 551.
18
            In opposition to the pending motion for partial summary judgment, the Plan Agent
19
     asserts that his Third Amended Consolidated Complaint filed on January 23, 2017,
20
     relates back to the avoidance claims in timely filed complaints filed by the Official
21
     Committee of Unsecured Creditors in this case before the statute of limitations under 11
22
     U.S.C. § 546(a) expired on February 19, 2015, namely, the original and first amended
23
     complaints against Ace Museum.
24
            On February 19, 2013, Debtor Art & Architecture Books of the 21st Century
25
     (“Debtor”) commenced this bankruptcy case by filing its voluntary petition for relief under
26
     Chapter 11 of Title 11 of the Bankruptcy Code, 11 U.S.C. (Main Bankruptcy Case, ECF
27
     1). As a debtor-in-possession, the Debtor had the authority to institute certain transfer
28



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1    avoidance actions pursuant to 11 U.S.C. §§ 544, 545, 547, 548 or 553, subject to a
2    general statute of limitations under 11 U.S.C. § 546(a) that such actions must be filed
3    within two years of the order for relief, that is, the date on which Debtor had filed its
4    voluntary bankruptcy petition, and the general statute of limitations based on the petition
5    date of February 19, 2013 would have been February 19, 2015.
6           Debtor and certain parties entered several stipulations approved by the court to
7    extend the transfer avoidance statute of limitations of 11 U.S.C. § 546(a), but 400 S. La
8    Brea, LLC, and its members, were not such stipulating parties (Main Bankruptcy Case,
9    ECF 872, 873, 874, 878, 879, 880, 1516, 1522, 1523, 1524, 1535, 1536, 1537, 1538).
10   Based on the stipulations between Debtor and certain parties and orders thereon to
11   extend the statute of limitations under 11 U.S.C. § 546(a) from February 19, 2013, the
12   statute of limitations was last extended to, and expired on, June 19, 2016.
13          On March 28, 2013, the United States Trustee (the “UST”) filed its notice of
14   appointment of the Official Committee of Unsecured Creditors in this bankruptcy case
15   (the “Committee”) (Main Bankruptcy Case, Docket No. 66). The Committee originally
16   included Eric Wilson, Seth Landsberg, and Simon Rubinstein. On December 10, 2013,
17   the UST filed its amended notice of appointment of the Committee, appointing Alan and
18   Vivien Hassenfeld to the Committee in place of Mr. Rubinstein (who voluntarily
19   resigned) (Main Bankruptcy Case, ECF 417). On April 10, 2013, the Committee filed its
20   application to employ the law firm of SulmeyerKupetz as its counsel, which was
21   approved by order of the court on May 8, 2013 (ECF 84 and 146), and Victor A. Sahn of
22   that firm was its lead counsel. Id.; Declaration of Victor A. Sahn in Support of
23   Opposition of the Plan Agent to the Motion for Partial Summary Judgment, filed on
24   September 27, 2021, ECF 1099, ¶¶ 21 and 22.
25          On or about October 17, 2014, the Committee entered into a stipulation with the
26   Debtor pursuant to which: (a) the Debtor transferred and assigned to the Committee any
27   and all of the Debtor’s rights to pursue collection of the outstanding balance of the loan
28   obligation of Ace Museum to the Debtor (whatever the amount may be), which had been



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1    listed as an asset of the bankruptcy estate on the Debtor’s bankruptcy schedules and to
2    otherwise enforce the loan obligation, including, but not limited to, the right to
3    commence and prosecute any legal proceedings for this purposes, on behalf of the
4    bankruptcy estate; and (b) the Committee was conferred with any and all requisite
5    standing and authority to pursue collection of the outstanding balance (whatever the
6    amount may be) and to otherwise enforce the loan obligation on behalf of the estate by
7    any necessary or appropriate means, including, but not limited to, through the
8    commencement and prosecution of any legal proceedings (the “Standing Stipulation”).
9    Ace Museum was a nondebtor entity owned and controlled by Douglas Chrismas, the
10   Debtor’s principal. The Standing Stipulation was executed by counsel for the
11   Committee, counsel for the Debtor, and Chrismas as the Debtor’s president. On
12   October 23, 2014, this Court entered an order approving the Standing Stipulation,
13   authorizing the Committee to act on behalf of the estate to enforce the loan obligation of
14   Ace Museum.
15          On November 26, 2014, the Committee commenced an adversary proceeding,
16   Adversary Number 2:14-ap-01771-RK by filing a complaint against Defendants Ace
17   Museum (“the Museum Adversary”). According to the complaint, the Committee
18   brought the Museum Adversary solely in its capacity as the Committee in the
19   Bankruptcy Case for the benefit of the bankruptcy estate (the “Estate”) and its creditors.
20   The Committee’s complaint against Ace Museum included claims for turnover of estate
21   property, for avoidance of fraudulent transfers by Debtor to Ace Museum and recovery
22   and preservation of fraudulently transferred property under 11 U.S.C. §§ 542, 544, 548
23   and 550 by Debtor. In paragraph 9 of this complaint, the Committee alleged:
24
                   9. Plaintiff is informed and believes, and based thereon alleges, that, in
25          fact, Ace Museum borrowed, or otherwise obtained, from the Debtor, and the
            Debtor lent, or otherwise provided, to Ace Museum, funds in the aggregate of no
26          less than $4,482,586.00 (the “Loan”), and that Ace Museum became indebted to
            the Debtor in at least that amount (the “Loan Obligation”). Plaintiff is further
27
            informed and believes, and based thereon alleges, that the Loan was provided or
28          made pursuant to one or more transfers of the Debtor’s funds from the Debtor to
            Ace Museum since July 9, 2009 (each, a “Transfer” and, collectively, the


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           “Transfers”).
1
     Museum Complaint, Adv. No. 2:14-ap-01771-RK, ECF 1, ¶ 9.
2
           On January 22, 2015, the Committee filed a first amended complaint in the
3
     Museum Adversary (“Museum FAC”), Adv. No. 2:14-ap-01771-RK, ECF 11, which
4
     added Chrismas as a defendant. The Committee’s Museum FAC against Ace Museum
5
     and Chrismas included claims for turnover of estate property, for avoidance of
6
     fraudulent transfers by Debtor to Ace Museum and Chrismas and recovery and
7
     preservation of fraudulently transferred property under 11 U.S.C, §§ 542, 544, 548 and
8
     550. In paragraphs 10, 11 and 12 of the Museum FAC, the Committee alleged:
9
10                10. Plaintiff is informed and believes, and based thereon alleges, that, on
           or about July 9, 2009, a meeting of the Board of Directors of Ace Museum
11         occurred, at which Ace Museum resolved to borrow from the Debtor an initial
           amount of no less than $3,143,994.92, plus additional amounts as necessary
12
           from time to time, with no interest (the “Museum Board Resolution”).
13
                  11. Plaintiff is informed and believes, and based thereon alleges, in or
14         about June 2012, the Debtor received a payment of approximately $4,000,000
15         from AERC (the “AERC Payment”), which was made in connection with the
           Debtor’s agreement to convey a portion of the Mid-Wilshire Lease that was
16         subject to the Mid-Wilshire Purchase Option to AERC. Plaintiff is further informed
           and believes, and based thereon alleges, that AERC desired to develop an
17         apartment project on that site and, in fact, commenced construction on that
18         project in or about June 2013.

19                12. Plaintiff is informed and believes, and based thereon alleges, that,
           consistent with the Museum Board Resolution, Ace Museum borrowed, or
20         otherwise obtained, from the Debtor, and the Debtor lent, or otherwise
21         transferred, to Ace Museum, funds in the aggregate of no less than
           $4,482,586.00 (the “Museum Loan”), and that Ace Museum became indebted to
22         the Debtor on account of the Museum Loan in at least that amount (the “Museum
           Loan Obligation”). Plaintiff is further informed and believes, and based thereon
23         alleges, that the Museum Loan was provided or made pursuant to one or more
24         transfers of the Debtor’s funds from the Debtor to Ace Museum since July 9,
           2009 or such other later date or dates before the Petition Date (defined below)
25         (each, an “Ace Museum Transfer” and, collectively, the “Ace Museum
           Transfers”), and that the Debtor used the AERC Payment to fund all, or a portion,
26
           of the Museum Loan or Ace Museum Transfers.
27   Museum FAC, Adv. No. 2:14-ap-01771-RK, ECF 11, ¶¶ 10-12.
28         Ace Museum leased its premises from 400 S. La Brea and paid rent to 400 S. La


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1    Brea. However, neither the original complaint in the Museum Adversary nor the first
2    amended complaint expressly referred to payments of Ace Museum’s rent to 400 S. La
3    Brea, as the avoidable transfers using Debtor’s funds, but these complaints alleged
4    prepetition transfers of Debtor’s funds to Ace Museum. Specifically, paragraph 9 of the
5    Museum Complaint and paragraph 11 of the Museum FAC alleged that “one or more
6    transfers of the Debtor’s funds [were made] from the Debtor to Ace Museum since July
7    9, 2009.” The transfers were referred to in the first amended complaint in the Ace
8    Museum Adversary as the “Ace Museum Transfers.” Paragraph 14 of the first amended
9    complaint in this complaint defines “Transfers” as transfers made by Chrismas and the
10   Ace Museum Transfers.” The thirteenth claim for relief (under 11 U.S.C. § 550) refers to
11   the Transfers.
12         The salient language in both of these complaints assert that transfers were made
13   to Ace Museum of no less than $4.4 million with specific descriptions of the alleged
14   transfers in bold and underlined as follows:
15
                  Plaintiff is informed and believes, and based thereon alleges, that,
16         consistent with the Museum Board Resolution, Ace Museum borrowed, or
           otherwise obtained, from the Debtor, and the Debtor lent, or otherwise
17         transferred, to Ace Museum, funds in the aggregate of no less than
           $4,482,586.00 (the “Museum Loan”), and that Ace Museum became indebted
18
           to the Debtor on account of the Museum Loan in at least that amount (the
19         “Museum Loan Obligation”). Plaintiff is further informed and believes, and based
           thereon alleges, that the Museum Loan was provided or made pursuant to
20         one or more transfers of the Debtor’s funds from the Debtor to Ace
21         Museum since July 9, 2009 or such other later date or dates before the
           Petition Date (defined below) (each, an “Ace Museum Transfer” and,
22         collectively, the “Ace Museum Transfers”), and that the Debtor used the
           AERC Payment to fund all, or a portion, of the Museum Loan or Ace Museum
23         Transfers.
24   Museum FAC, Adv. No. 2:14-ap-01771-RK, ECF 11, ¶ 12 (emphasis added). The
25   parties disagree whether this language encompasses the Direct Prepetition Rent
26   Transfers, so that the Plan Agent’s avoidance claims first alleged against the 400 S. La
27   Brea Parties in the Third Amended Consolidated Complaint filed in January 2017 “relate
28   back” to these earlier, timely filed complaints against Ace Museum.


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1           On or about February 12, 2015, the Debtor and Defendant entered that certain
2    “Stipulation Between Debtor and Ace Gallery New York Extending Statute of Limitations
3    Applicable to Actions by Debtor’s Estate” (Main Bankruptcy Case, ECF 873), pursuant
4    to which the Debtor and Defendant agreed to extend the statute of limitations to pursue
5    the claims asserted in this Complaint to December 19, 2015, without prejudice to further
6    extensions of such statute limitations (the “Tolling Stipulation”), and on February 13,
7    2015, this Court entered an order approving the Tolling Stipulation. Main Bankruptcy
8    Case, ECF 879.
9           On December 18, 2015, the Committee commenced another adversary
10   proceeding, Adversary Number 2:15-ap-01679-RK, by filing a complaint against
11   Defendants Ace Gallery New York Corporation (“the Ace New York Adversary”). ECF
12   1. According to the complaint, the Committee brought the Ace New York Adversary
13   solely in its capacity as the Committee in the Bankruptcy Case for the benefit of the
14   bankruptcy estate (the “Estate”) and its creditors. Ace Gallery New York Corporation
15   was another nondebtor entity owned and controlled by Douglas Chrismas, the Debtor’s
16   principal. The Committee’s complaint against Ace Gallery New York Corporation
17   included claims for turnover of estate property, for avoidance of preferential and
18   fraudulent transfers by Debtor to Ace Gallery New York Corporation and recovery and
19   preservation of fraudulently transferred property under 11 U.S.C, §§ 544, 547, 548 and
20   550. In paragraph 12 of the Ace New York Adversary Complaint, the Committee
21   alleged on information and belief that “the Debtor does not intend to pursue the claims
22   asserted herein and, in turn, Plaintiff brings this action on behalf of, and for the benefit
23   of, the Estate and its creditors” and that “[i]n the event Plaintiff requires an order from
24   the Bankruptcy Court granting it standing to pursue this action in such capacity, Plaintiff
25   hereby requests such order and standing or, if necessary, shall seek and obtain any
26   requisite standing.”
27          In paragraph 13 of the Ace New York Adversary Complaint, ECF 1, the
28   Committee alleged:



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1
                   13. Plaintiff is informed and believes, and based thereon alleges, that
2          prior to the Petition Date, the Debtor made one or more transfers to Defendant in
           the form of transfers of funds or artwork belonging to the Debtor (each, a
3          ‘Transfer’ and, collectively, the ‘Transfers’).
4    These claims alleged that Debtor transferred funds or artwork that belonged to Debtor
5    to Ace Gallery New York Corporation. This complaint did not specifically refer to rent
6    payments or to the 400 S. La Brea Parties.
7          On March 18, 2016, this Court entered its order confirming the Modified Second
8    Amended Plan of Reorganization of Official Committee of Unsecured Creditors (the
9    “Plan”), ECF 1859, which provided for the appointment of Sam Leslie as the Plan Agent
10   on the Effective Date of the Plan on April 6, 2016. Main Bankruptcy Case, ECF 1873.
11   The order confirming the Plan provided: “The Plan Agent is the designated
12   representative of the post-confirmation estate under section 1123(b)(3) of the
13   Bankruptcy Code and shall succeed to the debtor in possession as a fiduciary to
14   prosecute Chapter 5 causes of action (and any other claims) on behalf of the estate.”
15   Main Bankruptcy Case, ECF 1873 at 18; see also, Plan, ECF 1859, §§ 1.73, 5.4, 5.8
16   and 5.14 (providing that Plan Agent is authorized to prosecute the claims of the estate).
17   The Plan became effective on the Effective Date of April 6, 2016, and Plan Agent Sam
18   Leslie became involved in the bankruptcy case through his appointment pursuant to the
19   confirmed Plan.
20         On June 19, 2016, the Plan Agent filed a first amended complaint in the Ace New
21   York Adversary (Ace New York FAC”), ECF 27, which added Douglas Chrismas as a
22   defendant. The Plan Agent’s Ace New York FAC against Ace New York and Chrismas
23   included claims for avoidance of preferential and fraudulent transfers by Debtor to Ace
24   New York and Chrismas and recovery and preservation of fraudulently transferred
25   property under 11 U.S.C. §§ 544, 547, 548, 550 and 551.
26         Although the 400 S. La Brea Parties were not named as defendants in the Ace
27   New York FAC, the Plan Agent in this amended complaint alleges as part of his claims
28   that prepetition transfers and post-petition transfers of Debtor’s assets were made to



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1    400 S. La Brea to pay rent for Ace Museum. Ace New York FAC, paragraphs 24-26,
2    28, 46 and 52. That is, rent payments to 400 S. La Brea are alleged as prepetition and
3    postpetition transfers in this complaint. Paragraphs 24 and 25 of the Ace New York
4    FAC”), ECF 27, alleged prepetition transfers to 400 S. La Brea for rent for Ace Museum:
5
                  24. Plaintiff is informed and believes, and based thereon alleges, that,
6          consistent with the Museum Board Resolution, Ace Museum borrowed, or
           otherwise obtained, from the Debtor, and the Debtor lent, or otherwise
7          transferred, to Ace Museum, funds in the aggregate of no less than
           $4,482,586.00 (the “Museum Loan”), which amounts included some of all of the
8
           AERC Payment, and that Ace Museum became indebted to the Debtor on
9          account of the Museum Loan in at least that amount (the “Museum Loan
           Obligation”). Plaintiff is further informed and believes, and based thereon alleges,
10         that the Museum Loan was provided or made pursuant to one or more transfers
11         of the Debtor’s funds from the Debtor to Ace Museum since July 9, 2009 or such
           other later date or dates before the Petition Date (defined below) (each, an “Ace
12         Museum Pre-Petition Transfer” and, collectively, the “Ace Museum Pre-Petition
           Transfers”), and that the Debtor used the AERC Payment to fund all, or a portion,
13         of the Ace Pre-Petition Museum Transfers.
14
                  25. Plaintiff is informed and believes, and based thereon alleges, that
15         Chrismas alone determined on behalf of the Debtor that the Debtor would make
           the Museum Loan to Ace Museum and alone decided on behalf of the Debtor
16         when and whether the Debtor would transfer any funds to Ace Museum,
17         including, but not limited to, the decision to use the AERC Payment to make the
           Ace Museum Pre-Petition Transfers. Plaintiff is further informed and believes,
18         and based thereon alleges, that, given the Museum Board Resolution and
           Chrismas’s controlling position within Ace Museum, Ace Museum and the Ace
19         Museum Board conspired with Chrismas, and otherwise was complicit with
20         Chrismas’s decision, to make the Ace Museum Pre-Petition Transfers, including,
           but not limited to, the transfer of a portion of the AERC Payment to Ace Museum.
21
                  26. Plaintiff is informed and believes, and based thereon alleges, that, at
22
           the time or as a result of each of the Ace Museum Pre-Petition Transfers, the
23         Debtor was or became insolvent, was left with an unreasonably small capital to
           engage in its business, and/or otherwise was not paying or became unable to
24         pay its debts as such debts matured. Plaintiff is further informed and believes,
           and based thereon alleges, that each of the Ace Museum Pre-Petition Transfers
25
           was a transfer of property of the Debtor.
26
                                          ***
27
28               28. Plaintiff is informed and believes, and on that basis alleges, that the
           Debtor made such payment to 400 S. La Brea for the benefit of Ace Museum,


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            and on account of outstanding rent for 400 S. La Brea, and that the Debtor made
1
            other, earlier payments to 400 S. La Brea prior to the Petition Date, for the
2           benefit of Ace Museum, and on account of outstanding rent for the La Brea
            Property in the approximate amount of $886,496.
3
     However, these prepetition transfers to rent payments were not actionable transfers
4
     because they were not referenced in the claims to avoid the Ace NYC Pre-Petition
5
     Transfers, which were the subject of the claims in the amended Ace New York
6
     adversary complaint, as opposed to the Ace Museum Pre-Petition Transfers.
7
            Paragraphs 46 and 52 of the Ace New York FAC, ECF 27, allege post-petition
8
     transfers to 400 S. La Brea for rent for Ace Museum relating to the fifteenth claim for
9
     relief to avoid postpetition transfers under 11 U.S.C. § 549:
10
                   46. The Plan Agent’s ongoing forensic analysis indicates that, of the total
11
            Converted Proceeds, at least $4,568,382 was diverted from the Debtor, via ACE
12          NYC and other entities and parties, to Ace Museum during the Post-Petition
            Analysis Period, though such funds were property of the Debtor’s estate (the
13          “Ace Museum Diversions”). Much of the Ace Museum Diversions were further
14          transferred to 400 S. La Brea, LLC in satisfaction of the Ace Museum Rent
            Obligations, along with a further $48,000 that was transferred directly from ACE
15          NYC to 400 S. La Brea, LLC on account of the Ace Museum Rent Obligations,
            and further amounts described below that were paid directly to 400 S. La Brea,
16          LLC by a purchaser of artwork belonging to the Debtor. Attached hereto as
17          Exhibit 1 is a list of the Ace Museum Diversions that have been identified thus far
            that were made during the Post-Petition Analysis Period, of property of the
18          Debtor’s estate, from ACE NYC or other entities or parties to Ace Museum.
19                                                     ***
20
                    52. On March 30 and 31, 2016, Chrismas caused three transfers of funds
21          belonging to the Debtor’s estate to be carried out by which the funds were
            transferred to or for the benefit of Ace Museum, totaling $264,000, for the
22          purpose of satisfying certain of Ace Museum’s outstanding Ace Museum rent
23          obligations for the La Brea Property (the “Late March Diversions”). The Late
            March Diversions included a check from the Debtor in the amount of $50,000
24          made out to Ace Museum, a $100,000 wire transfer from a purchaser of artwork
            that was owned by or consigned to the Debtor that was wired to the account to
25
            Ace Museum upon the specific written instructions of Chrismas, and a $114,000
26          payment by an art purchaser who acquired art that was owned by or consigned
            to the Debtor’s estate and who was instructed by Chrismas to pay such funds
27          directly to 400 S. La Brea, LLC.
28



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1          On January 13, 2017, the court entered its order granting Plan Agent’s motion to
2    consolidate the Museum and Ace New York adversary proceedings and as previously
3    noted, motion to file the proposed Third Amended Consolidated Complaint. ECF 65.
4          On November 16, 2018, the Plan Agent filed his fifth amended consolidated
5    complaint in the consolidated adversary proceedings, and added as additional
6    defendants, Daryoush Dayan, Kamran Gharibian and Michael D. Smith, as part owners,
7    and principals of 400 S. La Brea, LLC, on the claims under 11 U.S.C. §§ 550 and 551
8    for recovery and preservation of alleged fraudulent and preferential transfers to 400 S.
9    La Brea, LLC, pursuant to 11 U.S.C. §§ 544, 547 and 548. ECF 465.
10         On February 19, 2020, the Plan Agent filed his sixth amended consolidated
11   complaint, which alleged claims against the 400 S. La Brea Parties for avoidance of
12   preferential and fraudulent transfers by Debtor to 400 S. La Brea, LLC, and recovery
13   and preservation of fraudulently transferred property under 11 U.S.C. §§ 544, 547, 548,
14   550 and 551. ECF 699. The Plan Agent’s sixth amended consolidated complaint is the
15   current operative complaint in these consolidated adversary proceedings.
16         Paragraphs 70 through 72 of the Sixth Amended Consolidated Complaint, ECF
17   699, allege avoidable prepetition transfers to 400 S. La Brea, LLC, through direct and
18   indirect rent payments for Ace Museum:
19
                   70. On February 19, 2013, the Petition Date, the Debtor filed its chapter
20         11 petition, initiating the above-captioned Bankruptcy Case. In the four years
           prior to the Petition Date, 400 S. La Brea had received at least $5,750,266.21 in
21         rent, late fees, and property tax payments, on account of the Museum Lease (the
           “Prepetition Rent Transfers”). Of the total Prepetition Rent Transfers, at least
22
           $2,328,432.47 was paid directly by the Debtor to 400 S. La Brea by wire transfer
23         or check into the Cathay Account, composed of the following payments, for which
           the Debtor received no consideration.
24
25                Date          Check/Wire                  Amount
                  07/06/09      Wire                        $132,677.96
26                4/13/11       Check 3979                  $125,000.00
                  4/22/11       Check 3980                  $15,867.00
27                9/28/11       Wire                        $137,500.00
28                10/04/11      Wire                        $137,500.00
                  10/21/11      Wire                        $125,000.00


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                  10/24/11      Wire                        $110,000.00
1
                  11/17/11      Wire                        $247,500.00
2                 12/23/11      Wire                        $137,525.00
                  12/27/11      Wire                        $139,961.45
3                 01/25/12      Wire                        $75,000.00
                  01/31/12      Wire                        $28,904.57
4
                  02/03/12      Wire                        $50,000.00
5                 03/02/12      Wire                        $12,500.00
                  03/26/12      Wire                        $72,000.00
6                 04/05/12      Wire                        $36,031.28
7                 04/12/12      Wire                        $36,000.00
                  05/08/12      Wire                        $280,186.00
8                 06/05/12      Wire                        $142,279.21
                  08/03/12      Wire                        $125,000.00
9                 10/23/12      Check 6913                  $137,000.00
10                02/07/13      Wire                        $25,000.00
                  TOTAL:                                    $2,328,432.47
11
                  71. The Prepetition Rent Transfers that were paid through the conduit of
12         the Ace Museum Account to 400 S. La Brea totaled $3,421,833.74, and were
13         paid almost entirely with funds of the Debtor that were first transferred into the
           Museum Account, and were then paid to 400 S. La Brea by an Ace Museum
14         check deposited in the Cathay Account. For example, on June 6, 2011, when the
           account balance in the Museum Account was only $5,328.36, the Debtor wired
15         $126,000 into the Museum Account, thereby permitting a check made out to 400
16         S. La Brea in the amount of $125,000 to clear the following day. Similarly, on July
           18, 2011, when the account balance in the Museum Account was only $3,375.72,
17         the Debtor wired $110,000 into the Museum Account, thereby permitting a check
           made out to 400 S. La Brea in the amount of $110,000 to clear that same day.
18
           These two months are not unique, but rather reflect the standard practice during
19         most months when rent was paid to 400 S. La Brea by an Ace Museum check or
           wire transfer.
20
                  72. By the Petition Date, and within four years of the Petition Date, the
21
           Debtor had paid 400 S. La Brea as much as $5,750,266.21 in satisfaction of a
22         third party’s lease obligations at a time when the Debtor was insolvent or unable
           to pay its own bills as they came due, for which the Debtor received no
23         reasonably equivalent value.
24
25         The 400 S. La Brea Parties now seek partial summary judgment on the claims
26   against them in the currently operative sixth amended consolidated complaint as to the
27   so-called direct payment transfers to them. Specifically, these parties request partial
28   summary judgment with respect to claims asserted against the 400 SLB Defendants in



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1    the Plan Agent’s Sixth Amended Consolidated Complaint, ECF 699, as follows:
2
                 (1)     All pre-petition transfers alleged to have been made directly from
3          the Debtor to 400 SLB (as defined herein, the “Alleged Pre-Petition Direct Rent
           Payments”) contained in the following causes of action: Second Claim for Relief
4          – Actual Fraudulent Transfer (11 U.S.C. § 544 and Cal. Civil Code §
           3439.04(a)(1)); Third Claim for Relief – Constructive Fraudulent Transfer (11
5
           U.S.C. § 544 and Cal. Civil Code § 3439.04(a)(2)); Fourth Claim for Relief –
6          Constructive Fraudulent Transfer (11 U.S.C. § 544 and Cal. Civil Code §
           3439.05); Fifth Claim for Relief – Actual Fraudulent Transfer (11 U.S.C. §
7          548(a)(1)(A)); Sixth Claim for Relief – Constructive Fraudulent Transfer (11
8          U.S.C. § 548(a)(1)(B)); Seventh Claim for Relief – Preferential Transfer (11
           U.S.C. § 547); and Eighth Claim for Relief – Recovery of Transfer (11 U.S.C. §
9          550).
10                (2)    Due to summary judgment being warranted as to all Alleged Pre-
11         Petition Direct Rent Payments (and therefore no actionable claims remain
           involving transfers directly from the Debtor to 400 SLB), summary judgment is
12         also warranted as to all pre-petition avoidance claims asserted against 400 SLB
           under 11 U.S.C. §§ 548 and 544, as all remaining pre- petition avoidable
13         transfers contained in the Sixth Amended Complaint are alleged to have been
14         received by 400 SLB from non-debtor Ace Museum, and therefore the Plan
           Agent may only assert claims for recovery with respect to those alleged transfers
15         under his Eighth Claim for Relief – Recovery of Transfer (11 U.S.C. § 550).
16                (3)   All alleged pre-petition preferential transfers alleged to have been
17         received by 400 SLB under the Sixth Claim for Relief – Preferential Transfer (11
           U.S.C. § 547).
18
                (4)     All claims for conversion alleged against 400 SLB in the Eleventh
19
           Cause of Action.
20   Motion, ECF 1032 at 12-13 (internal page citation 2-3).
21                                           DISCUSSION
22         General Standard for Partial Summary Judgment
23         In the motion, the 400 S. La Brea Parties seek partial summary judgment (or
24   summary adjudication) on claims against them based on avoidable fraudulent and
25   preferential transfers to them based on direct rent payments from the Debtor pursuant
26   to Federal Rule of Civil Procedure 56, made applicable to this adversary proceeding
27   through Federal Rule of Bankruptcy Procedure 7056. The standard applied to a motion
28   under Rule 56 seeking “partial summary judgment is identical to the standard for a


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1    motion seeking summary judgment of the entire case.” Kennedy v. United States
2    Citizenship and Immigration Services, 871 F.Supp.2d 996, 1006 (N.D. Cal. 2012)
3    (citation omitted). Summary judgment should be granted if “there is no genuine dispute
4    as to any material fact and the movant is entitled to a judgment as a matter of
5    law.” See, Fed.R.Civ.P. 56(a); Addisu v. Fred Meyer, Inc., 198 F.3d 1130, 1134 (9th Cir.
6    2000). A genuine issue for trial exists if the non-moving party presents evidence from
7    which a reasonable jury, viewing the evidence in the light most favorable to that party,
8    could resolve the material issue in his or her favor. See, Anderson v. Liberty Lobby,
9    Inc., 477 U.S. 242, 248-249 (1986). “Because summary judgment is a ‘drastic device,’
10   cutting off a party's right to present its case to a jury, the moving party bears a ‘heavy
11   burden’ of demonstrating the absence of any triable issue of material fact.” Philips and
12   Stevenson, Rutter Group Practice Guide: Federal Civil Procedure Before Trial,
13   California & Ninth Circuit Edition, ¶ 14:123 (online edition, April 2021), citing, Ambat v.
14   City & County of San Francisco 757 F.3d 1017, 1031 (9th Cir. 2014) and Nationwide
15   Life Ins. Co. v. Bankers Leasing Ass'n, Inc., 182 F.3d 157, 160 (2nd Cir. 1999).
16          In Nissan Fire & Marine Insurance Co., Ltd. v. Fritz Companies, Inc., 210 F.3d
17   1099 (9th Cir.2000), the Ninth Circuit discussed the shifting burdens of proof with
18   respect to a motion for summary judgment where the moving party as here does not
19   have the ultimate burden of proof on the claims to be tried as the Plan Agent has such a
20   burden in proving his transfer avoidance claims:
21
                   A moving party without the ultimate burden of persuasion at trial—usually,
22          but not always, a defendant—has both the initial burden of production and the
            ultimate burden of persuasion on a motion for summary judgment. See 10A
23          Charles Alan Wright, Arthur R. Miller and Mary Kay Kane, Federal Practice and
            Procedure § 2727 (3d ed.1998). In order to carry its burden of production, the
24
            moving party must either produce evidence negating an essential element of the
25          nonmoving party's claim or defense or show that the nonmoving party does not
            have enough evidence of an essential element to carry its ultimate burden of
26          persuasion at trial. See High Tech Gays v. Defense Indus. Sec. Clearance
27          Office, 895 F.2d 563, 574 (9th Cir.1990). In order to carry its ultimate burden of
            persuasion on the motion, the moving party must persuade the court that there is
28          no genuine issue of material fact. See id.



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1
                   If a moving party fails to carry its initial burden of production, the
2           nonmoving party has no obligation to produce anything, even if the nonmoving
            party would have the ultimate burden of persuasion at trial. See Adickes v. S.H.
3           Kress & Co., 398 U.S. 144, 160, 90 S.Ct. 1598, 26 L.Ed.2d 142 (1970); High
            Tech Gays, 895 F.2d at 574; A. Friedenthal, A. Miller and M. Kane, Civil
4
            Procedure 460 (3d ed.1999). In such a case, the nonmoving party may defeat
5           the motion for summary judgment without producing anything. See High Tech
            Gays, 895 F.2d at 574; Clark v. Coats & Clark, Inc., 929 F.2d 604, 607 (11th
6           Cir.1991). If, however, a moving party carries its burden of production, the
7           nonmoving party must produce evidence to support its claim or defense. See
            High Tech Gays, 895 F.2d at 574; Cline v. Industrial Maintenance Eng'g. &
8           Contracting Co., 200 F.3d 1223, 1229 (9th Cir.2000). If the nonmoving party fails
            to produce enough evidence to create a genuine issue of material fact, the
9           moving party wins the motion for summary judgment. See Celotex Corp. v.
10          Catrett, 477 U.S. 317, 322, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986) (“Rule 56(c)
            mandates the entry of summary judgment, after adequate time for discovery and
11          upon motion, against a party who fails to make a showing sufficient to establish
            the existence of an element essential to that party's case, and on which that party
12          will bear the burden of proof at trial.”). But if the nonmoving party produces
13          enough evidence to create a genuine issue of material fact, the nonmoving party
            defeats the motion. See id.
14
     Id. at 1102-1103.
15
            Summary judgment must be granted where a party “fails to make a showing
16
     sufficient to establish the existence of an essential element to that party's case, on
17
     which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S.
18
     317, 322-323 (1986). There, the Supreme Court held that defendant could meet its
19
     initial burden for summary judgment “by ‘showing’ that there [was] an absence of
20
     evidence to support the nonmoving party's case.” Id. at 325; see also, Samuels v.
21
     Holland American Line-USA Inc., 656 F.3d 948, 952 (9th Cir.2011). Or to reiterate a
22
     point made by the Ninth Circuit in Nissan Fire & Marine Ins. Co. v. Fritz Cos., where the
23
     party moving for summary judgment would not bear the ultimate burden of persuasion
24
     at trial, it must either produce evidence negating an essential element of the non-
25
     moving party's claim or show that the non-moving party does not have enough evidence
26
     of an essential element to carry its ultimate burden of persuasion at trial. 210 F.3d at
27
     1102 (9th Cir.2000) (emphasis added).
28
            The standard for partial summary judgment is identical to one for seeking


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1    summary judgment in the entire case. Summary judgment should be granted if there is
2    no genuine dispute as to any material facts and as a matter of law the movant is entitled
3    to judgment. Fed.R.Civ.P. 56(a). The relevant inquiry in a summary judgment motion is
4    whether there is a genuine issue relating to a material fact, and whether the moving
5    party is entitled to judgment as a matter of law. State of California Dept. of Toxic
6    Substances Control v. Campbell, 138 F.3d 772, 780 (9th Cir. 1998).
7           “Relating Back” Transfer Avoidance Claims as to 400 S. La Brea, LLC
8           The 400 S. La Brea Parties argue that all the claims against 400 S. La Brea,
9    LLC, to avoid the direct pre-petition rent payments made by Debtor to it are barred by
10   the statute of limitations for avoidance actions under 11 U.S.C. § 546.
11          The essence of the argument of these parties is summarized in the motion as
12   follows:
13
                   It is undisputed that the Plan Agent did not bring 400 SLB in this action as
14          a defendant until January 13, 2017 as part of the Plan Agent’s Third Amended
            Consolidated Complaint [Docket No. 69] (“Third Amended Complaint”). It is
15          further undisputed that the statute of limitations to bring avoidance claims under
            section 546(a) expired almost two years prior on February 19, 2015 (i.e. two
16
            years from the Petition Date). The avoidance claims asserted against 400 SLB in
17          January 2017 in the Third Amended Complaint do not “relate back” pursuant to
            Rule 15(c)(1)(C) to any timely filed complaint brought against other defendants.
18          This is consistent with this Court’s similar finding regarding the Plan Agent
19          proposed seventh amended complaint, which the Court rejected. The simple and
            necessary conclusion is that all pre-petition avoidance claims asserted against
20          400 SLB are time barred.
21                 With all pre-petition avoidance claims asserted against 400 SLB being
22          time barred, the Plan Agent’s only possible legal route to assert such claims is
            through the doctrine of equitable tolling. As the Court is well-aware, the Plan
23          Agent, in his Sixth Amended Complaint and in his numerous pleadings filed in
            this adversary proceeding, relies heavily on assertions that the Plan Agent came
24          into the picture in only April 2016 and sometime thereafter he discovered what he
25          describes as a “massive fraud” perpetrated by Douglas Chrismas during the
            pendency of the bankruptcy case. What the Plan Agent ignores in repeatedly
26          hiding behind the veil of Mr. Chrismas’ alleged post-petition fraud, is that it was
            the Plan Agent’s predecessor-in-interest, the Official Committee of Unsecured
27          Creditors (the “Committee”) that filed the only two timely complaints in this action.
28          As such, it is what the Committee knew, or should have known at the time the
            statute of limitations expired in February 2015 that must be the central inquiry for


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            any equitable tolling analysis; and discovery has revealed that the Committee
1
            knew everything it needed to know to support the timely filing of avoidance
2           claims against 400 SLB for direct pre- petition rent payments paid from the
            Debtor to 400 SLB. Yet, the Committee inexplicably declined to pursue those
3           claims.
4
                    As discussed herein, incontrovertible evidence uncovered in this case has
5           revealed the Committee, near the inception of the case, not only had the benefit
            of the Debtor’s schedules and statements, which disclosed information pertaining
6           to nearly all of the pre-petition rent payments alleged to have been made directly
7           by the Debtor to 400 SLB, but they fortuitously became the beneficiaries of a
            slew of discovery and fact gathering on account of the Debtor’s extensive legal
8           dispute with its then landlord AERC Desmond’s Tower, LLC (“AERC”) regarding
            whether the Debtor’s pre-petition lease could be assumed. The Committee
9           participated in every phase of that litigation, including their receipt and review of
10          a large document production from the Debtor, which contained information
            identifying each of the 22 pre-petition rent payments made directly by the Debtor
11          to 400 SLB. What’s more, subsequent depositions in that matter specifically
            discussed direct pre-petition rent payments made by the Debtor to 400 SLB, and
12          exhibits attached thereto described each such rent payment by date, amount,
13          method of payment and specifically identified 400 SLB as the recipient of each.
            By the end of 2013, the Committee had in its possession all the information
14          necessary to make an avoidance claim against 400 SLB for such pre-petition rent
            payments made by the Debtor. On top of all that, in January-February 2015, as
15          the two-year statute of limitations quickly approached, the Debtor’s counsel
16          actually recommended to the Committee that they pursue avoidance claims
            against 400 SLB. For reasons known only to the Committee and its counsel, it
17          chose not to pursue those claims prior to the expiration of the statute of
            limitations. It was only in January 2017 that the Plan Agent, who inherited the
18
            Committee’s counsel, elected to bring such claims.
19   Motion, ECF 1032 at 13-14 (internal page citation 3-4) (footnote omitted). The gist of
20   their argument is that since the claims against them based on the direct prepetition rent
21   transfers to 400 S. La Brea, LLC, do not relate back to any of the timely filed complaints,
22   and they were not timely named as defendants in the adversary proceedings as
23   required by Federal Rule of Civil Procedure 15(c), they should be entitled to partial
24   summary judgment on the second through eighth claims for relief as to the direct rent
25   payments to 400 S. La Brea.
26          The Third Amended Consolidated Complaint was not an amendment as a matter
27   of course, lacking written consent of the other parties, and the Plan Agent had to obtain
28   leave of court pursuant to Federal Rule of Civil Procedure 15(a)(2), but as this rule also


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1    provides, “[t]he court should freely give leave when justice so requires.” Federal Rule of
2    Civil Procedure 15 applies to this adversary proceeding through Federal Rule of
3    Bankruptcy Procedure 7015. The court had granted the Plan Agent leave to amend to
4    file this third amended complaint, but 400 S. La Brea, LLC, asserted the statute of
5    limitations as an affirmative defense in its answer. Thus, the Plan Agent still must show
6    that the claims against it and the other 400 S. La Brea Parties are timely or “relate back”
7    to timely filed complaints.
8           “Federal Rule of Civil Procedure 15(c) ‘governs when an amended pleading
9    relates back to the date of a timely filed original pleading and is thus itself timely even
10   though it was filed outside an applicable statute of limitations.’” Tate v. United States,
11   No. CV 15-9323-FMO(JFR), 2019 WL 6799107 (C.D. Cal. Sept. 18, 2019), slip op. at
12   *4, citing and quoting, Krupski v. Costa Crociere S.p.A., 560 U.S. 538, 541 (2010).
13   Thus, the proposed amended complaint must “relate back” to a timely pleading within
14   the statute of limitations pursuant to Federal Rule of Civil Procedure 15(c)(1), which
15   provides:
16
                   (c)(1) When an Amendment Relates Back. An amendment to a
17                 pleading relates back to the date of the original pleading when:

18                        (A) the law that provides the applicable statute of limitations allows
                              relation back;
19
20                        (B) the amendment asserts a claim or defense that arose out of the
                              conduct or occurrence set out---or attempted to be set out---in
21                            the original pleading;
22                        (C) the amendment changes the party or the naming of the party
23                            against whom a claim is asserted, if Rule 15(c)(1)(B) is
                              satisfied and if, within the period provided by Rule 4(m) for
24                            service of the summons and complaint, the party to be brought
                              in by amendment:
25
                                    (i) received such notice of the action that it will not be
26
                                    prejudiced in defending the merits; and (ii) knew or should
27                                  have known that the action would have been brought against
                                    it, but for a mistake concerning the proper party’s identity.
28
     Federal Rule of Civil Procedure 15(c)(1).


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1           In this case, the Plan Agent’s third amended complaint would have to relate back
2    to the dates of the timely filed pleadings, either the original complaint or the first
3    amended complaint filed in Adv. No. 2:14-ap-01771 RK, before the two-year statute of
4    limitations of 11 U.S.C. § 546(a) as to the 400 S. La Brea Parties expired on February
5    19, 2015. The Third Amended Consolidated Complaint adds new parties and new
6    claims which were not alleged in the original complaint and first amended complaint,
7    that is, the third amended complaint adds 400 S. La Brea, LLC, as a new party not
8    named in the original complaint and the first amended complaint in the Ace Museum
9    Adversary.
10          The court notes that the Plan Agent is seeking to add 400 S. La Brea, LLC, as a
11   new party defendant to his avoidance claims, and as the 400 S. La Brea Parties argue,
12   this would only be possible through two year statute of limitations of 11 U.S.C. § 546(a)
13   from the petition date. In the court’s view, the Plan Agent needs either a ruling that the
14   third amended complaint relates back to the timely filed original or first amended
15   complaint in the Ace Museum Adversary or that the statute of limitations is equitably
16   tolled under the circumstances of this case. (As discussed below, the court does not
17   determine that the doctrine of relating back could apply to the original and first amended
18   complaints in the Ace New York Adversary Proceeding because those complaints were
19   filed after the statute expiration as to the 400 S. La Brea Parties on February 19, 2015.)
20          Since 400 S. La Brea, LLC, was a newly added defendant not included in the
21   timely filed original complaint and first amended complaint, the stringent requirements of
22   Federal Rule of Civil Procedure 15(c)(1)(C) apply. The avoidance claims against 400 S.
23   La Brea, LLC, must have arisen out of the conduct alleged in the timely original or first
24   amended complaints in the Ace Museum Adversary Proceeding, that the new defendant
25   must have received sufficient notice of the original action “within the period provided by
26   [Federal Rule of Civil Procedure] 4(m) for serving of the summons and complaint” so
27   that the new defendant will not be prejudiced in defending the claims on the merits and
28   that the new defendant must have known or should have known that “but for a mistake



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1    concerning the proper party’s identity” they would have been named in the timely filed
2    complaints. As the Ninth Circuit stated in G.F. Co. v. Pan Ocean Shipping Co., Ltd., 23
3    F.3d 1498 (9th Cir. 1994),
4
                    Rule 15(c) was intended to protect a plaintiff who mistakenly names a
5           party and then discovers, after the relevant statute of limitations has run, the
            identity of the proper party. Rule 15(c) was never intended to assist a plaintiff
6           who ignores or fails to respond in a reasonable fashion to notice of a potential
            party[.]
7
     Id. at 1503 (citations omitted).
8
            The original and the first amended complaints in the Ace Museum Adversary
9
     allege that the fraudulent transfers were made by the Debtor to Defendant Ace Museum
10
     and Defendant Chrismas within four years of the petition date, primarily consisting of
11
     payments to or on behalf of Defendant Ace Museum of approximately $4 million since
12
     July 9, 2009, and payments to or on behalf of Defendant Chrismas of at least
13
     $69,041.02 within one year of the petition date. Ace Museum First Amended
14
     Complaint, ¶ 9-14. In the original complaint or the first amended complaint, there are no
15
     specific allegations of alleged fraudulent transfers involving the 400 S. La Brea, LLC,
16
     apparently as it was not named as a party defendant in the original or first amended
17
     complaints or was not referred to in any way in the original or first amended complaints,
18
     and thus, the provisions governing relation back of proposed pleadings of Rule
19
     15(c)(1)(C) applicable to this defendant as a newly added party must be met.
20
            The requirement that the new claims arise out of the same conduct, transaction
21
     or occurrence under Federal Rule of Civil Procedure 15(c)(1)(C), incorporating by
22
     reference Rule 15(c)(1)(B) is shown here as the amended claims in the third amended
23
     complaint are based on the same operative facts as those set forth or attempted to be
24
     set forth in the timely filed original and first amended complaints in the Ace Museum
25
     Adversary Proceeding. Rule 15(c)(1)(B) provides: “An amendment to a pleading relates
26
     back to the date of the original pleading when ... the amendment asserts a claim or
27
     defense that arose out of the conduct, transaction, or occurrence set out—or attempted
28



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1    to be set out—in the original pleading....” To relate back, “the original and amended
2    pleadings [must] share a common core of operative facts so that the adverse party has
3    fair notice of the transaction, occurrence, or conduct called into question.” Martell v.
4    Trilogy Ltd., 872 F.2d 322, 325 (9th Cir. 1989). A new legal theory based on different
5    facts does not relate back under Rule 15(c). Williams v. Boeing Co., 517 F.3d 1120,
6    1133 (9th Cir. 2008). However, the relation back doctrine of Rule 15(c) is “liberally
7    applied.” Clipper Exxpress v. Rocky Mountain Motor Tariff Bureau, Inc., 690 F.2d 1240,
8    1259 n. 29 (9th Cir.1982). The operative language in the first amended Ace Museum
9    Adversary Complaint alleges that “Ace Museum borrowed, or otherwise obtained, from
10   the Debtor, and the Debtor lent, or otherwise transferred, to Ace Museum, funds in the
11   aggregate of no less than $4,482,586.00 (the ‘Museum Loan’)” and “the Museum Loan
12   was provided or made pursuant to one or more transfers of the Debtor’s funds from the
13   Debtor to Ace Museum since July 9, 2009 or such other later date or dates before the
14   Petition Date (defined below) (each, an ‘Ace Museum Transfer’ and, collectively, the
15   ‘Ace Museum Transfers’).” These allegations relating to the Ace Museum Transfers
16   could describe the Direct Prepetition Rent Transfers by the Debtor to 400 S. La Brea,
17   LLC, to pay the rent of Ace Museum, and thus, such allegations, if proven, could show
18   that these transfers were some of the Ace Museum Transfers as alleged in this
19   complaint.
20          Also, this requirement could be shown to be met because such allegations as to
21   the Direct Prepetition Rent Transfers would be likely proven by the same kind of
22   evidence that supported the allegations in the timely filed first amended complaint in the
23   Ace Museum Adversary. ASARCO, LLC v. Union Pacific Railroad Co., 765 F.3d 999,
24   1004 (9th Cir. 2014).
25          As to this requirement, the 400 S. La Brea Parties argue:
26
                   The Original Museum Complaint purports to avoid only transfers made
27          from the Debtor to Ace Museum, defining the “Transfers” the Committee sought
            to avoid as “one or more transfers of the Debtor’s funds from the Debtor to Ace
28          Museum since July 9, 2009”. Original Museum Complaint, ⁋ 9. There is no


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           reference to any transfers for or on account of rent, let alone rent paid to a third-
1
           party “for the benefit” of Ace Museum, nor does the Original Museum Complaint
2          make any reference to the payment of Ace Museum’s lease obligations.

3                Indeed, this Court, when recently tasked with evaluating the claims
           asserted in the Original Museum Complaint aptly made the very same
4
           observation:
5
                  The original [Museum] complaint did not allege or refer to transfers to
6                 parties other than Ace Museum or to transfers before July 9, 2009. Id.,
7                 ¶¶ 1-78. The alleged transfers pertained to Debtor's transfers to Ace
                  Museum pursuant to the purported “Loan” and did not refer to any rent
8                 obligations. Id. Paragraph 9 of the original complaint alleged that the
                  actionable transfers by the Debtor to Ace Museum were “since July 9,
9                 2009”, and the sixth, seventh and eighth claims for relief sought to avoid
10                each of these transfers. Id., ¶¶ 9, 51-64.

11         In re Art & Architecture Books of the 21st Century, No. 2:13-BK-14135-RK, 2021
           WL 1821869, at *7 (Bankr. C.D. Cal. May 5, 2021) (emphasis added)
12
13                 Similarly, the Amended Museum Complaint, although it contains
           numerous allegations regarding the lease relationship between 400 SLB and Ace
14         Museum and even attaches a copy of the subject lease as part of the
           Committee’s unwavering effort to sell the La Brea Property to satisfy the
15         outstanding Ace Museum Receivable, is conspicuously silent as to any rent
16         payments made by the Debtor for the benefit of Ace Museum, or directly to 400
           SLB. Rather, the Amended Museum Complaint also seeks to avoid only transfers
17         made to Ace Museum. Such is clear in the Amended Museum Complaints
           definition of “Transfers” it seeks to avoid:
18
19                12. Plaintiff is informed and believes, and based thereon alleges, that,
                  consistent with the Museum Board Resolution, Ace Museum borrowed, or
20                otherwise obtained, from the Debtor, and the Debtor lent, or otherwise
                  transferred, to Ace Museum, funds in the aggregate of no less than
21
                  $4,482,586.00 (the “Museum Loan”), and that Ace Museum became
22                indebted to the Debtor on account of the Museum Loan in at least that
                  amount (the “Museum Loan Obligation”). Plaintiff is further informed and
23                believes, and based thereon alleges, that the Museum Loan was provided
24                or made pursuant to one or more transfers of the Debtor’s funds from
                  the Debtor to Ace Museum since July 9, 2009 or such other later date or
25                dates before the Petition Date (defined below) (each, an “Ace Museum
                  Transfer” and, collectively, the “Ace Museum Transfers”) ….
26
27         Amended Museum Complaint, ⁋ 12 (emphasis added).

28                As with the Original Museum Complaint, this Court has already performed



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           an analysis of the claims asserted in the Amended Museum Complaint and has
1
           found that the Committee possessed knowledge of the lease relationship with
2          400 SLB, but nevertheless only sought to avoid transfers from the Debtor to Ace
           Museum:
3
                 The First Amended Complaint also referred to, and attached, copies of the
4
                 Museum Lease entered into between Chrismas and 400 South La Brea
5                LLC in 2006 as well as the amendment of the lease and assignment to
                 Ace Museum entered into between these parties and Ace Museum in
6                2009. Id., ¶¶ 29-32 and Exhibits 1-3 attached thereto. The copies of the
7                Museum Lease, assignment and amendment attached to the First
                 Amended Complaint indicated that Plaintiff's predecessor in interest, the
8                Creditors’ Committee, had knowledge of the contractual relationship
                 between Chrismas, Debtor's principal and sole shareholder, 400 South La
9                Brea, LLC, the landlord, and Ace Museum, under the Museum Lease and
10               the amendment/assignment, and had knowledge that Chrismas and Ace
                 Museum had obligations to pay rent to 400 South La Brea LLC under the
11               Museum Lease, and that Ace Museum had minimal revenue other than
                 “Contributions and Grants” as shown by its tax returns for 2010 and 2011
12               to pay its rent obligations under the Museum Lease. Id., ¶ 29-38 and
13               Exhibits 1-3 attached thereto. The First Amended Complaint also sought
                 preliminary injunctive relief for appointment of a receiver to exercise the
14               purchase option under the Museum Lease to purchase the 400 South La
                 Brea and Sycamore properties. Id., and Prayer for Relief on First Claim for
15               Relief. The First Amended Complaint in these allegations referred to the
16               Debtor's prepetition transfers to Ace Museum as “the profligate,
                 irresponsible transfer of more than $4,000,000 from the Debtor to Ace
17               Museum.” Id., ¶ 38.
18
                 The first amended complaint did not allege or refer to transfers to
19               parties other than Ace Museum or Chrismas or to transfers before four
                 years before the petition date. Id., ¶¶ 1-146. As in the original
20               complaint, the alleged transfers pertained to Debtor's transfers to
                 Ace Museum pursuant to the purported “Loan” and did not refer to
21
                 any rent obligations under the Museum Lease. Id. Paragraph 9 of the
22               original complaint alleged that the alleged actionable fraudulent
                 transfers by the Debtor to Ace Museum were “since July 9, 2009 or
23               such other later date or dates before the Petition Date since July 9, 2009”,
24               and the seventh, eighth, ninth, tenth and eleventh claims for relief sought
                 to avoid each of these transfers. Id., ¶¶ 12, 82-103.
25
           In re Art & Architecture Books of the 21st Century, No. 2:13-BK-14135-RK, 2021
26         WL 1821869, at *8 (Bankr. C.D. Cal. May 5, 2021). (emphasis added).
27
                By asserting now that the Original Museum Complaint and the Amended
28         Museum Complaint can, by reason of Section 550, reach 400 SLB even in the



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            absence of any allegations at all regarding rent payments – direct or indirect – is
1
            the Plan Agent’s attempt to fit the square peg of time-barred claims into the
2           round hole of the only timely complaints filed against Ace Museum. If the Court
            accepts Mr. Sahn’s testimony that he was unaware of the Alleged Pre- Petition
3           Direct Rent Payments until sometime after April 2016, then it necessarily follows
            that neither complaint filed against Ace Museum in 2014 and 2015 could possibly
4
            have sought to avoid such unknown direct transfers. Regardless of whether the
5           Court accepts that testimony, the four corners of each of the complaints, which
            were timely filed against Ace Museum only, are unambiguous in their allegations
6           seeking to avoid only transfers from the Debtor to Ace Museum, with no mention
7           whatsoever of transfers on account of rent, whether to or for the benefit Ace
            Museum, or directly to third party 400 SLB.
8
     Reply to Opposition, ECF 1132 at 18-20 (internal page citation 13-15; emphasis in
9
     original).
10
            The 400 S. La Brea Parties in their supplemental briefing reiterated that this
11
     requirement is not met because the allegations in the original and first amended Ace
12
     Museum Adversary Complaints only referred to transfers made from the Debtor to Ace
13
     Museum. ECF 1173 at 13 (internal page citation 10). The 400 S. La Brea Parties argue
14
     that “by seeking to avoid only transfers to Ace Museum, and specifically omitting any
15
     reference to any transfers made ‘on behalf of’ Ace Museum, the four corners of each
16
     complaint reflect the Committee’s affirmative decision to limit its avoidance claims to
17
     transfers from the Debtor to Ace Museum.” Id. (emphasis in original). The 400 S. La
18
     Brea Parties support their argument on this point by citing again to the court’s decision
19
     on the Plan Agent’s motion for leave to amend the sixth amended complaint that the
20
     original and first amended complaints in the Ace Museum Adversary “did not allege or
21
     refer to transfers to parties other than Ace Museum . . . and did not refer to any rent
22
     obligations.” Id. at 9-10.
23
            The counterargument made by the Plan Agent in his supplemental opposition is
24
     that
25          . . . the plain language of the allegation includes more than just transfers to Ace
            Museum. In both the “to” and “from” descriptions of transfers in Paragraph 12,
26          there are two methods specified: one in which Ace Museum is transferred or
27          obtains funds directly, and a contrasting second method in which it “borrows” or
            is “lent” funding “otherwise.” In other words, what is contemplated here is not only
28          that the Debtor’s money is being transferred directly to Ace Museum, but that it is



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            “otherwise” tallied as a loan or borrowing on behalf of and thereby increasing the
1
            debt of Ace Museum. That “otherwise” are transfers made directly to third
2           persons like 400 SLB on the account of Ace Museum (i.e., the “Transfers”).
            Those are exactly the prepetition transfers that are detailed more specifically
3           later—following a significant amount of forensic examination—in the 6th
            Amended Complaint.
4
     Supplemental Opposition, ECF 1170 at 9 (internal page citation 3). The court agrees
5
     with the Plan Agent on this point because the 400 S. La Brea Parties do not take into
6
     account the relevance of 11 U.S.C. § 101(54)(D) which provides that “[t]he term
7
     ‘transfer’ means----(D) each mode, direct or indirect, absolute or conditional, voluntary
8
     or involuntary, of disposing of or parting with---- (i) property; or (ii) an interest in
9
     property.” Under this statutory definition, the alleged Direct Prepetition Rent Transfers
10
     from the Debtor to 400 S. La Brea, LLC, to pay the rent of Ace Museum were direct
11
     transfers to 400 S. La Brea, LLC, and indirect transfers to Ace Museum because the
12
     transfers were transfers of property by the Debtor on behalf of Ace Museum, which
13
     benefitted from the payment of its rent obligation. Thus, such transfers could be shown
14
     to be some of the Ace Museum Transfers as alleged in the original and first amended
15
     Ace Museum adversary complaints as avoidable fraudulent transfers. In other words,
16
     the 400 S. La Brea Parties overlook the dual character of the direct rent transfers as not
17
     only direct transfers to 400 S. La Brea, LLC, but indirect transfers to Ace Museum in
18
     that the Debtor made transfers of funds to pay its rent under its lease with 400 S. La
19
     Brea, LLC. However, the significance of this observation becomes evident regarding
20
     the issue of the applicability of 11 U.S.C. § 550 to the Direct Prepetition Rent Transfers
21
     because the allegations relating to the Direct Prepetition Rent Transfers by the Debtor
22
     to 400 S. La Brea, LLC, on behalf of Ace Museum can “relate back” to the alleged Ace
23
     Museum Transfers alleged in the original and first amended Ace Museum Adversary
24
     Complaints as to Ace Museum as to Ace Museum was already a party in that adversary
25
     proceeding. Moreover, the allegations relating to the Direct Prepetition Rent Transfers
26
     by the Debtor to 400 S. La Brea, LLC, on behalf of Ace Museum can “relate back” to the
27
     alleged Ace Museum Transfers alleged in the first amended Ace New York Adversary
28



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1    Complaints as to Ace Museum as to Ace Museum was timely added as a party in that
2    adversary proceeding though its extension of the statute of limitations to June 19, 2016.
3           Contrary to the argument of the 400 S. La Brea Parties, the language in the
4    court’s decision on the Plan Agent’s motion to amend the sixth amended complaint is
5    not dispositive because the holding of the court in denying the motion was that the
6    requirement that the new avoidable transfer claims arose out of the same conduct,
7    transaction or occurrence was not met because the avoidable transfer claims in the
8    timely filed complaints only referred to prepetition transfers between 2009 and 2013 and
9    did not refer to pre-2009 transfers.
10          However, as argued by the 400 S. La Brea Parties in their motion at 29-30, the
11   requirements of Federal Rule of Civil Procedure 15(c)(1)(C) that within the period
12   provided by Federal Rule of Civil Procedure 4(m) then in effect for service of the
13   summons and complaint, that is, 120 days of the filing of the original and first amended
14   complaints on November 26, 2014 and January 22, 2015, respectively, that the party to
15   be brought in by amendment, i.e., the 400 S. La Brea, LLC, had (i) received such notice
16   of the action that it will not be prejudiced in defending the merits; and (ii) knew or should
17   have known that the action would have been brought against it, but for a mistake
18   concerning the proper party’s identity. The Plan Agent in his initial opposition to the
19   motion and in his supplemental reply brief in support of the opposition do not address
20   these points, though he addresses the third requirement of Rule 15(c)(1)(C) that the
21   new claims concern the same conduct, transaction or occurrence. There is no evidence
22   in the record of the pending motion that within the 120 day time period of Rule 4(m)
23   ending about the end of May 2015, 400 S. La Brea, LLC, had received notice of the
24   action against it so that it would not be prejudiced in defending the merits and would
25   have known or should have known that the action would have been brought against it,
26   but for a mistake concerning its identity as a proper party defendant.
27          Thus, the court is inclined to find that the uncontroverted facts show that the Plan
28   Agent’s avoidance claims relating to the Direct Prepetition Rent Transfers in the Third



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1    Amended Consolidated Complaint and later amended complaints do not “relate back” to
2    the timely filed original and first amended complaints in the Ace Museum Adversary
3    Proceeding as to the 400 S. La Brea Parties pursuant to Federal Rule of Civil Procedure
4    15(c)(1)(C) governing amendment of pleadings to add new parties because the
5    stringent requirements of the rule regarding service of the summonses and the original
6    and first amended complaints in the Ace Museum Adversary was not made within 120
7    days of the filing dates for those complaints under Federal Rule of Civil Procedure 4(m)
8    and receipt of notice of the action by 400 S. La Brea that it would not have been
9    prejudiced in defending the merits and that it knew or should have known that the action
10   would have been brought against it, but for a mistake concerning the proper party’s
11   identity.
12          Based on this record, evidence of such a showing of compliance with the notice
13   and service requirements of Federal Rule of Civil Procedure 15(c)(1)(C) is lacking
14   because the original and first amended complaint in the Ace Museum Adversary
15   Procedures did not allege claims of prepetition fraudulent transfers to the new party,
16   400 S. La Brea, LLC, specifically based on the prepetition rent transfers. Because the
17   Third Amended Complaint does not meet the requirements of Rule 15(c)(1)(C) to relate
18   back to the timely filed original and first amended complaints in the Ace Museum
19   Adversary Proceeding, the avoidance claims in the third amended complaint do not
20   “relate back” as against 400 S. La Brea, LLC. Thus, the court would determine that the
21   Plan Agent’s avoidance claims as to the Prepetition Direct Rent Transfers to 400 S. La
22   Brea, LLC, are not timely on grounds that they “relate back” to the timely filed original
23   and first amended Ace Museum adversary complaints. The same holding applies to the
24   other 400 S. La Brea Parties as they were not named as party defendants until the Fifth
25   Amended Complaint was filed in 2018.
26          In this regard, the court would also reject the Plan Agent’s arguments that his
27   avoidance claims as to Prepetition Direct Rent Transfers to 400 S. La Brea, LLC, relate
28   back to the timely filed original and first amended complaints in the Ace New York



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1    Corporation Adversary Proceeding because the claims in those complaints raise the
2    same problems as the original and first amended Ace Museum adversary complaints,
3    namely, the uncontroverted evidence shows that the stringent requirements of Rule
4    15(c)(1)(C) regarding service of the summonses and the complaints was not made
5    within 120 days of the filing dates for those complaints under Federal Rule of Civil
6    Procedure 4(m) and receipt of notice of the action by 400 S. La Brea that it would not
7    have been prejudiced in defending the merits and that it knew or should have known
8    that the action would have been brought against it, but for a mistake concerning the
9    proper party’s identity. Furthermore, as to the original and first amended complaints in
10   the Ace New York Corporation Adversary Proceeding, those complaints were filed after
11   the two-year statute of limitations under 11 U.S.C. § 546(a) expired as to the 400 S. La
12   Brea Parties, which and who were not parties to the statute extension stipulations, and
13   the claims in the current complaint cannot relate back to those earlier complaints. In so
14   holding, the court rejects the Plan Agent’s argument in the supplemental opposition,
15   ECF 1178 at 9-11 (internal page citation 5-6) that these complaints were timely based
16   on the extended statute of limitations because the 400 S. La Brea Parties were not
17   parties to the stipulations to extend the two-year statute of limitations of 11 U.S.C. §
18   546(a). To the extent that the Plan Agent argues that his avoidance claims are in rem
19   as thus timely because the claims originated in the original and first amended Ace
20   Museum Adversary Complaints referring to the “Ace Museum Loan Transaction”, the
21   subsequent complaints added new parties, namely, the 400 S. La Brea Parties, and the
22   Plan Agent must meet the requirements of Rule 15(c)(1)(C) for relating back, which as
23   discussed above, he has not shown. Thus, in the court’s view, it does not matter that
24   the Plan Agent contends that his allegations regarding these transfers relate back to the
25   timely filed Ace Gallery New York first amended complaint because this complaint
26   alleged claims to avoid transfers of Debtor’s property to pay rent and that the Ace
27   Gallery New York first amended complaint includes specific allegations of transfers from
28   Debtor to 400 S. La Brea for rent payments. Moreover, as the 400 S. La Brea Parties



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1    argue in their supplemental opposition, the avoidance claims in these complaints do not
2    relate to prepetition transfers by the Debtor because Ace New York Corporation was
3    created just before the petition date and the actionable transfers to it were postpetition.
4    ECF 1173 at 11-12 (internal page citation 8-9).
5           For the foregoing reasons, the court will determine that the Plan Agent’s
6    avoidance claims as to the Direct Prepetition Rent Transfers in the current operative
7    complaint in his Sixth Amended Consolidated Complaint do not relate to the prior
8    original and first amended complaints in the Ace Museum and Ace New York
9    Corporation Adversary Proceedings pursuant to Federal Rule of Civil Procedure
10   15(c)(1)(C). However, this determination favorable to the 400 S. La Brea Parties is not
11   dispositive as to their motion for partial summary judgment, which as discussed below,
12   the court must resolve issues relating to the Plan Agent’s arguments that his avoidance
13   claims as to the Direct Prepetition Rent Transfers should be considered timely based on
14   his assertion of equitable tolling and that his recovery claims under 11 U.S.C. § 550 are
15   applicable to such transfers.
16          Plan Agent’s Assertion of Equitable Tolling
17          The 400 S. La Brea Parties argue that the Plan Agent’s avoidance claims as to
18   the Direct Prepetition Rent Transfers cannot be considered timely based on the doctrine
19   of equitable tolling because the Committee and its counsel knew about the direct
20   payments by the Debtor to 400 S. La Brea, LLC, for Ace Museum’s rent, but did not
21   diligently pursue those claims so that they were filed in a timely manner, and such lack
22   of diligence is attributable to the Plan Agent as the Committee’s successor-in-interest.
23   While the Plan Agent thus acknowledges that he did not name 400 S. La Brea, LLC, as
24   a defendant until after the statute of limitations of 11 U.S.C. § 546(a) expired on
25   February 19, 2015, he argues that he should be allowed to pursue the transfer
26   avoidance claims based on equitable tolling to at least December 13, 2016, the date on
27   which he filed his motion for leave to file the Third Amended Consolidated Complaint,
28   which asserted allowance raises genuine issues of material fact that cannot be resolved



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1    on a motion for partial summary judgment. That is, the Plan Agent argues that the
2    evidence that he has submitted demonstrates the existence of disputed material facts
3    whether the two-year statute of limitations of 11 U.S.C. §546(a) expiring on February
4    19, 2015 should be equitably tolled for the court to consider the specific claims to avoid
5    the rent transfers to 400 S. La Brea in the Third Amended Consolidated Complaint and
6    subsequent amended complaints.
7           As a general rule, the equitable tolling doctrine “is read into every federal statute
8    of limitation.” In re United Insurance Management, Inc., 14 F.3d 1380, 1384-1385 (9th
9    Cir. 1994), citing and quoting, Holmberg v. Armbrecht, 327 U.S. 392, 397 (1945). In
10   order to apply equitable tolling, “a litigant seeking equitable tolling bears the burden of
11   establishing two elements: (1) that he has been pursuing his rights diligently, and (2)
12   that some extraordinary circumstance stood in his way.” Pace v. DiGuglielmo, 544 U.S.
13   408, 418 (2005), citing, Irwin v. Department of Veterans Affairs, 498 U.S. 89, 96, 111
14   S.Ct. 453, 112 L.Ed.2d 435 (1990). In In re Milby, 545 B.R. 613, 619-620 (9th Cir. BAP
15   2016), the Bankruptcy Appellate Panel of the Ninth Circuit recognized that the statute of
16   limitations of 11 U.S.C. §546(a) may be subject to equitable tolling.
17          Regarding equitable tolling based on fraud, the Supreme Court has stated,
18   “[W]here a plaintiff has been injured by fraud and remains in ignorance of it without any
19   fault or want of diligence or care on his part, the bar of the statute does not begin to run
20   until the fraud is discovered.” Merck & Co., Inc. v. Reynolds, 559 U.S. 633, 644-645
21   (2010), citing and quoting, Holmberg v. Armbrecht, 327 U.S. at 397. Similarly, in
22   Gladstone v. U.S. Bancorp, 811 F.3d 1133 (9th Cir. 2016) The Ninth Circuit has stated:
23   “Under the equitable tolling doctrine, where a party ‘remains in ignorance of [a wrong]
24   without any fault or want of diligence or care on his part, the bar of the statute does not
25   begin to run until the fraud is discovered, though there be no special circumstances or
26   efforts on the party committing the fraud to conceal it from the knowledge of the other
27   party.’” 811 F.3d at 1143.
28          The question of when a plaintiff discovered or should have discovered a claim is



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1    a question of fact. In re Cecchi Gori Pictures, 607 B.R. 351, 353 (Bankr. N.D. Cal.
2    2019), citing, S.E.C. v. Seaboard Corp., 677 F.2d 1301, 1309 (9th Cir. 1982)). Where
3    the “uncontroverted evidence irrefutably demonstrates that the plaintiff discovered or
4    should have discovered the fraudulent conduct,” it may be decided as a matter of law.
5    Id., citing, Mosesian v. Peat, Marwick, Mitchell & Co., 727 F.2d 873, 877 (9th Cir. 1984).
6    The burden of proof is on the plaintiff to designate specific facts demonstrating the
7    existence of genuine issues for trial. Id. This requires evidence from which a jury could
8    reasonably infer a decision in the plaintiff's favor. Id., citing, In re Oracle Corp.
9    Securities Litigation, 627 F.3d 376, 387 (9th Cir. 2010)).
10          The Plan Agent argues that facts are disputed as to whether he pursued his
11   rights diligently and whether there were extraordinary circumstances that prevented the
12   Plan Agent (or the Committee) from bringing the transfer avoidance claims as to the
13   Direct Prepetition Rent Transfers. The Plan Agent in his supplemental opposition to the
14   motion argues as follows:
15
                   A plaintiff seeking equitable tolling must demonstrate: “(1) that he has
16          been pursuing his rights diligently, and (2) that some extraordinary circumstance
            stood in his way.” See Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005). The Court
17          has asked whether it is the diligence of the party seeking the equitable tolling that
            matters—here, the Plan Agent—or if instead the diligence of his predecessors
18
            (Debtor and the Creditor’s Committee) should be considered? It is the former, for
19          several reasons.

20                 First, the plain language of the test as set out by the U.S. Supreme Court
21          concerns the diligence of the party seeking equity—i.e., whether “he has been
            pursuing his rights diligently,” Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005)—
22          and not other persons. This is consistent with 1 the jurisprudence of equity at
            large. Equity is equitable, and evaluates the parties’ acts for fairness, and no
23          other persons.
24
                   Second, it is hornbook law that the trustee shall have, as of the
25          commencement of the case, and without regard to any knowledge of the trustee
            or of any creditor, the rights and powers of, or may avoid any transfer of property
26          of the debtor or any obligation incurred by the debtor…” 11 U.S.C. 544(a). Cf. In
27          re Schraiber, 141 B.R. 1008, 1013 (N.D. Ill. 1992) (“[T]he limitations period under
            § 546(a)(1) starts to run when the written order confirming trustee’s appointment
28          is signed by the judge.”); In re Kendall Meat Imports, Inc., 176 B.R. 80, 81 (S.D.



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           Fla. 1994) (“The two year statute of limitations in which a Trustee must file a
1
           Complaint, as set forth in Bankruptcy Code § 546(a)(1) commences to run upon
2          the ‘appointment of a trustee’ under section 702.”). The Trustee is not the
           creditors, and does not inherit their knowledge for all purposes.
3
                   Third, in comparable equitable situations, courts do not impute the
4
           knowledge of the Trustee’s predecessors for purposes of statute of limitations.
5          See, e.g., Gill v. Blessing, 2014 WL 12573667, at *3 (C.D.Cal. 2014) (“[T]he
           receiver asserted claims on behalf of the ponzi scheme entities, not the creditors,
6          and [] the entities’ knowledge could not be imputed to the receiver for the
7          purposes of the statute of limitations.”); Matter of International Gold Bullion
           Exchange, Inc., 53 B.R. 660, 665 (S.D.Fla. 1985) (“[A] trustee in bankruptcy
8          takes the foregoing interests on behalf of the general unsecured creditors without
           imputation of knowledge of the debtors activities or practices which may or were
9          in actual or constructive fraud of a particular creditor of the debtor.”); In re
10         Behrends, 2017 WL 4513071, at *8, 26 (Bankr. D. Col. 2017) (“[T]he IRS is an
           actual creditor in Debtor’s case. *** because the Trustee brought her claim as a
11         creditor claim under §544(a), the law does not impute the IRS’ knowledge to her
           and, therefore, her claim accrued when the Debtor filed his schedules.”).
12
13                 Fourth, and finally, in the Ninth Circuit, courts “must take a flexible
           approach in applying equitable principals” and not “create blanket, prospective
14         rules or applications.” See Smith v. Davis, 953 F.3d 582, 590 (9th Cir. 2020).
           Here, the knowledge that 400 SLB would impute to the Plan Agent—essentially,
15         a Trial Balance, and deposition testimony about it—not only conflicts with
16         information the Plan Agent and his predecessors were independently receiving,
           but is itself not the proper basis in equity for triggering the Plan Agent’s statute of
17         limitations on several counts, namely:
18
                   •      The document is inherently unreliable. Trial Balance is an unsworn,
19         computer generated document. Any first year accountant can press print on
           basic accounting software and print off whatever information that comes out of
20         Doug Chrismas’s internal files. Garbage in, garbage out is an expression
           common to accountants and that is the danger that the Trial Balance presents –
21
           it is only as valuable as the inputter, who has proved unreliable. In contrast, as I
22         mentioned earlier, there were sworn SOFAs and amendments to them that were
           provided by the Debtor both before (in March 2013) and after (in August of 2013)
23         these depositions.
24
                  •       The testimony is inconclusive. if you actually look at the testimony
25         about these Trial Balances (Mot at. 15) is full of qualifiers like “I think it’s rent” or
           that Debtor “may have made payments directly” to a third party. The theory would
26         have to be that the Committee should drop everything they have been told
27         differently before or after in sworn statements because of a trial balance in a
           deposition in a separate litigation where someone thinks payments may have
28         been made and maybe its rent. It is not per se unreasonable lack of diligence



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           that this was not Committee’s process.
1
2                 •        The argument is misleading. There is an absolutely egregious
           misstatement about the Trial Balance document in Defendant 400 SLB’s briefing,
3          where counsel for 400 SLB has converted the word “Memo” to “Recipient.”
           Viewed at its very best, this is a very meaningful error and alteration of a
4
           document because who the recipient is – and whether the predecessors were
5          able to tell – is exactly what we talking about here so and if you change a
           document to make it look like an issue undisputed because it says right there
6          “Recipient”, that does not make it undisputed.
7
                  To the last, 400 SLB on reply corrects the issue and cites the proper word
8          “Memo” but it has to because the exact same deposition on which 400 SLB relies
           explains that Memo does not mean recipient. See Opposition at 8. However,
9          given that the Ninth Circuit has emphasized that the diligence required is
10         “reasonable diligence” and not “maximum feasible diligence.” See Smith at 599
           (internal citations omitted), that this “reasonable diligence is tested by an
11         objective standard,” In re United Ins. Mgmt., Inc., 14 F.3d 1380, 1384 (9th Cir.
           1994), and the one document proffered by 400 SLB as warranting summary
12         judgment is limited and improperly argued, it is not entitled to a summary
13         judgment of a defense in equity.
     Supplemental Opposition, ECF 1170 at 13-15 (internal page citation 7-9).
14
           The Plan Agent also argues in his original opposition to the motion that the
15
16   evidence supports specific disputed material facts that cannot be determined on partial
     summary judgment:
17
18                400 S. La Brea presents its interpretation of the events that took place
           during the bankruptcy. As pointed out in the Declaration of Victor Sahn, 400 SLB
19         never appeared in the bankruptcy case although they clearly knew about it. The
20         rendition that they give of it is at odds with the events as they actually took place
           during the course of the bankruptcy case. 400 SLB's Separate Statement,
21         though, requires (1) the court to weigh what Creditor's Committee knew or should
           of known regarding about the direct pre-petition transfers to 400 S. La Brea
22
           during the bankruptcy and (2) ignores that well establish fact that Mr. Chrismas
23         hid his ongoing fraud from the Court and the parties in the bankruptcy.

24                By asking the court to weigh their evidence without any reference to the
           fraud that Mr. Chrismas committed, it should be impossible for 400 S. La Brea to
25
           prevail at summary judgment.
26
                In addition to this, there are major categories of contested fact. For
27         example:
28
           •      It is a contested fact that SulmeyerKupetz and the Creditor's Committee


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           knew of the pre-petition transfers. See Sahn Decl. Evidence showing (1) Mr.
1
           Sahn did not know of the pre-petition transfers; (2) that he reasonably relied on
2          the false schedules and monthly operating reports; and (3) the strategy that was
           employed was based upon the false statements in the falsified documents
3          precludes a determination that, as a matter of undisputed fact, that the Creditor’s
           Committee was not diligent.
4
5          •       It is a contested fact as to the impact the Debtor's failure to include
           information from the detail trial balance on the August 15, 2013. After the
6          deposition and the disclosure of the detail trial balance, Debtor did not revise the
7          Amended Schedule to identify 400 SLB as the recipient of the direct payments;
           Debtor did not revise the Amended Schedule to include the information regarding
8          400 SLB from the detail trial balance; and Debtor took no steps thereafter to sue
           400 SLB over the alleged transfers in the detail trial balance. Instead, Debtor
9          stood on the material misstatements in the April 2013 Schedules that clearly
10         stated the transfers were for Ace Museum and continued to omit the identity of
           400 SLB as the direct recipient. The Committee built its understanding of the
11         avoidance actions off the material misrepresentations in the schedules which
           identified Ace Museum as the recipient of the funds.
12
13         •       It is a contested fact as to how Mr. Chrismas’ fraud upon this Court and
           upon the Committee materially altered the outcome of the case and the discovery
14         of the pre-petition transfers. If the Creditor's Committee had been aware of the
           fraud, the Committee would have immediately moved for the appointment of a
15         Chapter 11 Trustee. A trial is necessary to determine how Mr. Chrismas's
16         extensive bankruptcy fraud impacted the Creditor's Committee ability to bring the
           pre-petition claims against 400 SLB.
17
           •       It is a contested fact that SulmeyerKupetz and the Creditor's Committee
18
           made the strategic decision to not pursue 400 SLB for the pre-petition transfers
19         to preserve the Ace Museum option. This argument on its own is enough to deny
           summary judgment as it asks the Court to weigh facts establishing the state of
20         mind of SulmeyerKupetz and the Creditor's Committee. The evidence presented
           in opposition shows that (1) the Creditor's Committee was only aware of the one
21
           preference payment presented in the Schedules and (2) this information was
22         false; and (3) the false information drove the decision on how to proceed with the
           avoidance actions.
23
24         •      It is a contested fact and issue of law whether the Creditor's Committee
           had standing to bring the claims against 400 SLB. 400 SLB suggests that
25         SulmeyerKupetz and the Creditor's Committee should have filed the avoidance
           action. This is contested because the law requires that Debtor bring these
26         actions and that Debtor never conferred standing on SulmeyerKupetz and the
27         Creditor's Committee to bring the action.

28                Given these issues, it is clear that summary judgment is improper.



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1
     Opposition at 28-29 (internal citation 18-19). The Plan Agent’s asserted material facts
2
     are adequately supported by his Statement of Genuine Disputes of Material Fact and
3
     Conclusions of Law in Support of the Opposition of Plan Agent to Motion for Partial
4
     Summary Judgment by Defendant 400 S. La Brea, LLC, Daryoush Dayan, et al., filed
5
     on September 27, 2021, ECF 1098, Responses to Alleged Uncontroverted Material
6
     Fact, Nos. 7, 8, 12, 14, 15, 19, 21, 22, 23, 26, 29, 30, 31, 34, 35, 36, 37, 38, 39, 40, 41,
7
     42, 47, 48, 49, 50, 51, 52, 53, 59, 60, 63, 64, 65, 68, 71, 72, 73, 74, 75, 76, 77, 78, 79,
8
     80, 81, 82, 83, 84, 85, 86 and 87, and Additional Asserted Uncontroverted Facts, Nos.
9
     1-223, and evidence cited therein, as modified and supplemented by his Issues and the
10
     evidence cited therein, Supplemental Statement of Genuine Disputes of Material Fact
11
     and Conclusions of Law in Support of the Opposition of Plan Agent to Motion for Partial
12
     Summary Judgment by Defendant 400 S. La Brea, LLC, Daryoush Dayan, et al., filed
13
     on November 12, 2021, ECF 1171, Responses to Alleged Uncontroverted Material Fact,
14
     Nos. 7, 8, 9, 11, 12, 14, 15, 16, 19, 21, 22, 23, 24, 26, 27, 29, 30, 31, 33, 34, 35, 36, 37,
15
     38, 39, 40, 41, 42, 47, 48, 49, 50, 51, 52, 53, 58, 59, 60, 63, 64, 65, 68, 71, 72, 73, 74,
16
     75, 76, 77, 78, 79, 80, 81, 82, 83, 84, 85, 86 and 87, and Additional Asserted
17
     Uncontroverted Facts, Nos. 1-230, and evidence cited therein; see also, 400 SLB
18
     Defendants’ Response to Purported “Additional” Uncontroverted Facts Submitted by
19
     Plan Agent in Opposition to the 400 SLB Defendants’ Motion for Partial Summary
20
     Judgment, filed on November 12, 2021, ECF 1172; Defendants’ Response to Purported
21
     Supplemental “Additional Facts” Contained in Plan Agent’s Supplemental Statement of
22
     Genuine Disputes and Conclusions of Law in Connection with the 400 SLB Defendants’
23
     Motion for Partial Summary Judgment, filed on November 19, 2021, ECF 1180. 1
24
25   1
        The parties have interposed objections to the declarations of the other party’s witnesses. For purposes
     of the pending motion, the court overrules the objections of the Plan Agent to the Davidoff and Banner
26   declaration, and the court overrules the objections of the 400 S. La Brea Parties to the Sahn and
     Marticello declarations, except the court sustains the objection to the Sahn declaration based on the
27   mediation privilege. The court does not sustain the objections to the Sahn declaration on grounds that
     the testimony is argumentative, which it probably is, but the court determines that most of the declaration
28   is factual and disregards the purely argumentative portions of the declaration. The court also overrules
     the Plan Agent’s objections to the request for judicial notice of the 400 S. La Brea Parties since the court


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1            Having considered this argument and the supporting statement of genuine issues
2    and evidence, the court agrees with the Plan Agent that there are genuine issues of
3    material fact regarding whether equitable tolling is appropriate here. That is, there is
4    evidence that indicates that the Committee was faced with conflicting information about
5    the direct rent transfers as the Debtor’s bankruptcy filings did not adequately disclose
6    the prepetition direct rent transfers or other prepetition transfers as Chrismas gave
7    intentionally misleading information in the Debtor’s monthly operating reports and in his
8    deposition testimony to the Committee and the court about the relationship between the
9    Debtor and Ace Museum and the purported loan by the Debtor to Ace Museum, i.e.,
10   alleged repayments by Ace Museum through use of the Debtor’s diverted funds, and
11   other information given in discovery or in the Debtor’s bankruptcy filings were
12   incomplete and/or contradictory. Supplemental Statement of Genuine Disputes of
13   Material Fact and Conclusions of Law, ECF 1171, Responses to Alleged
14   Uncontroverted Material Fact, Nos. 29, 30, 31, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 47,
15   48, 49, 50, 51, 52, 53, 58, 59, 60, 63, 64, 65, 68, 71, 72, 73 and 74, and Additional
16   Asserted Uncontroverted Facts, Nos. 1-3 and 33-180, and evidence cited therein.
17   Moreover, the evidence indicates that Chrismas made it difficult for anyone to pursue
18   timely avoidance actions on behalf of the estate, as he as Debtor’s principal fired
19   Debtor’s attorneys after they had recommended that the Debtor take action to pursue
20   such claims. Supplemental Statement of Genuine Disputes of Material Fact and
21   Conclusions of Law, ECF 1171, Additional Asserted Uncontroverted Facts, Nos. 181-
22   188 and 227-230, and evidence cited therein. Such evidence, though disputed, may
23   indicate grounds for applying equitable estoppel here. The court could determine at trial
24
     can take judicial notice of its files and records under Federal Rule of Evidence 201. Russell, Bankruptcy
25   Evidence Manual, § 201.5 (online edition November 2021 update), citing and quoting, In re Clark, 525
     B.R. 442, 449 n. 8 (Bankr. D. Idaho 2015), aff’d, BAP No. ID-15-1065-KiFJu, 2016 WL 1377807 (9th Cir.
26   BAP Mar. 29, 2016), aff’d, 693 Fed. Appx. 644 (2017). The prior statements by the declarants in this
     matter made in the documents filed with the court may have evidentiary value under Federal Rule of
27   Evidence 801(d). In re Clark, 525 B.R. at 449 n. 8. It is not a productive use of the court’s time in ruling
     on the motion to rule on each and every objection since on the whole, based on the evidence that the
28   Plan Agent has filed, he has met his burden of establishing that there are genuine issues of material fact
     to preclude partial summary judgment.


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1    the alleged uncontroverted facts that the 400 S. La Brea Parties rely upon for partial
2    summary judgment, but the court should not do so now because such alleged facts are
3    controverted by evidence of other facts as argued by the Plan Agent and should be
4    determined at trial when the court can weigh the credibility of the evidence.
5           The court determines that based on this record, there are genuine issues of
6    material fact whether equitable tolling of the two-year statute of limitations under 11
7    U.S.C. § 546(a) to December 13, 2016 is appropriate to allow the consideration of the
8    avoidable claims based on the Direct Prepetition Rent Transfers by the Debtor to 400 S.
9    La Brea, LLC. The two year statute of limitations of 11 U.S.C. § 546(a) measured from
10   the petition date of February 19, 2013 expired on February 19, 2015, and based on the
11   allegations of fraud against Defendant Chrismas who was in control of the Debtor during
12   the preconfirmation phase of this bankruptcy case through the plan effective date, April
13   6, 2016, Plaintiff can make a reasonable argument for equitable tolling through April 6,
14   2016, the date when his appointment as the plan agent became effective, and prior to
15   that, according to Plaintiff, Defendant Chrismas was supervising the Debtor during the
16   preconfirmation phase of this bankruptcy case, which concealed and refused to produce
17   relevant information to the Creditors’ Committee. Supplemental Statement of Genuine
18   Disputes of Material Fact and Conclusions of Law, ECF 1171, Responses to Alleged
19   Uncontroverted Material Fact, Nos. 29, 30, 31, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 47,
20   48, 49, 50, 51, 52, 53, 58, 59, 60, 63, 64, 65, 68, 71, 72, 73 and 74, and Additional
21   Asserted Uncontroverted Facts, Nos. 1-3 and 33-180, and evidence cited therein.
22   Assuming arguendo that based on Debtor’s preconfirmation concealment and refusal to
23   produce relevant information with the Creditors’ Committee, equitable tolling was
24   appropriate until the effective date of Plaintiff’s appointment on April 6, 2016, there are
25   genuine issues of material fact as to whether equitable tolling is appropriate afterwards
26   through December 13, 2016, the date on which the Plan Agent filed his motion for leave
27   to file the proposed Third Amended Consolidated Complaint, in which he first
28   specifically alleged that the Direct Prepetition Rent Transfers to 400 S. La Brea, LLC,



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1    were avoidable fraudulent transfers. That is, the Plan Agent could have discovered the
2    alleged fraudulent transfers within a reasonable time after he took over Debtor’s
3    operations on April 6, 2016 through December 13, 2016, the date on which he filed his
4    motion for leave to file the proposed Third Amended Consolidated Complaint, presents
5    genuine issues of material fact that should not be resolved on summary adjudication.
6           While the 400 S. La Brea Parties as the moving parties have carried their burden
7    of production on their partial summary judgment motion regarding equitable tolling, the
8    Plan Agent as the nonmoving party was required to produce evidence to support its
9    claim or defense based on equitable tolling, and if the Plan Agent as the nonmoving
10   party produces enough evidence to create a genuine issue of material fact, the
11   nonmoving party defeats the motion. Nissan Fire & Marine Insurance Co., Ltd. v. Fritz
12   Companies, Inc., 210 F.3d at 1102-1103. The court finds that the evidence regarding
13   the diligence of the Plan Agent, the current plaintiff in this adversary proceeding, in
14   pursuing the transfer avoidance claims relating to the Direct Prepetition Rent Transfers
15   against 400 S. La Brea, LLC, and filing his motion for leave to amend to add specific
16   claims to avoid these transfers in December 2016, eight months after the effective date
17   of his appointment, although over a year and ten months after the statute expiration as
18   to 400 S. La Brea, LLC, indicates that the Plan Agent has met his burden of producing
19   enough evidence to demonstrate genuine issues of material fact that based on
20   adequate evidence precludes the granting of partial summary judgment on these claims
21   based on his assertion that equitable tolling applies to his claims. Accordingly, on this
22   record, the court determines that the Plan Agent has met his burden of proof to
23   designate specific facts demonstrating the existence of genuine issues for trial that he
24   may properly rely upon equitable tolling to prosecute his transfer avoidance claims
25   against 400 S. La Brea, LLC, as he has identified evidence from which a jury could
26   reasonably infer a decision in his favor. In re Cecchi Gori Pictures, 607 B.R. at 353.
27   Thus, the court cannot conclude that the “uncontroverted evidence irrefutably
28   demonstrates that the plaintiff discovered or should have discovered the fraudulent



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1    conduct” in order for the court to determine that equitable tolling is not appropriate as a
2    matter of law. Id. (citing Mosesian v. Peat, Marwick, Mitchell & Co., 727 F.2d 873, 877
3    (9th Cir. 1984)). Accordingly, the court determines that the 400 S. La Brea Parties have
4    not met their ultimate burden of demonstrating entitlement to partial summary judgment.
5    See Nissan Fire & Marine Insurance Co., Ltd. v. Fritz Companies, Inc., 210 F.3d at
6    1102-1103.
7           Issue of Attribution of Committee’s Lack of Diligence to Plan Agent
8           What the Committee’s counsel, the SulmeyerKupetz law firm, on behalf of the
9    Committee, knew or did not know about the transfer of Debtor’s property/funds to make
10   rent payments to 400 S. La Brea, is a triable issue of material fact. See Aronsen v.
11   Crown Zelelrbach, 662 F.2d 584, 595 (9th Cir. 1981) (citation omitted) (“equitable tolling
12   or estoppel almost invariably involves the credibility of the various witnesses (and)
13   [c]redibility is difficult to determine from affidavits, or depositions.”) (Age Discrimination
14   in Employment Act (ADEA) cases). The evidence submitted by the parties is disputed
15   as the knowledge of Committee counsel of the direct rent transfers from the Debtor to
16   400 S. La Brea. The 400 S. La Brea Parties offer documentary evidence indicating that
17   Committee counsel knew or should have known about the direct rent payment transfers
18   from deposition testimony of Debtor’s accountants, Mendelsohn and Holst, and Debtor’s
19   principal, Chrismas, and documentary evidence, including a rider to an amended
20   bankruptcy schedule and Debtor’s trial balance sheets. Committee counsel’s
21   declaration attests that neither he nor the Committee was aware of the direct rent
22   transfers, and the Plan Agent argues that other evidence indicates that the Committee
23   was given misleading information about the transfers in representations in Debtor’s
24   bankruptcy schedules and other filings and from Debtor’s principal, Chrismas. The
25   totality of the record indicates that there are genuine issues of material fact presented
26   by the conflicting evidence as to the Committee’s knowledge or lack of knowledge.
27          Even if Committee counsel became aware or should have known of the transfers
28   from Debtor to 400 S. La Brea, LLC, there are genuine issues of material fact as to how



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1    the Committee could have acted on what it knew or should have known as it was
2    Debtor’s duty to bring suit to avoid and recover the transfers and the time for the
3    Committee to act was limited based on the 400 S. La Brea Parties’ argument that
4    Debtor’s counsel had urged the Committee to file suit shortly before the statute of
5    limitations expired. As the Plan Agent argues, “In a Chapter 11 case, unless a trustee
6    has been appointed, the debtor-in-possession exercises the avoiding powers. §
7    1107(a).” In re Roman Catholic Bishop of Great Falls, Montana 584 B.R. 335, 338
8    (Bankr. D. Mont. 2018).
9           Furthermore, whether Committee counsel knew about the direct payment
10   transfers to 400 S. La Brea may not be relevant because it is unclear whether the
11   actions of the Committee are attributable to the Plan Agent. The Plan Agent was
12   appointed pursuant to the confirmed plan of reorganization which had been proposed by
13   the Committee, but it is unclear whether this makes him the successor-in-interest to the
14   Committee. The confirmed plan provides that the Plan Agent succeeds to the interests
15   of the Debtor in carrying out the terms of the confirmed plan.
16          The 400 S. La Brea Parties assume that the Plan Agent is the successor to the
17   Committee, but do not cite any legal authority to support this argument. In the motion,
18   this argument is not explained. The motion simply alludes to the fact that the Plan
19   Agent assumed control of the adversary proceedings once his appointment became
20   effective:
                   On March 18, 2016, the Court entered its Confirmation Order in the
21
            underlying bankruptcy case (the “Bankruptcy Case”) confirming the Committee’s
22          Plan. Under the Committee’s Plan, the Committee was effectively dissolved, and
            the Plan Agent took over prosecution of both this Adversary Proceeding16 and
23          the Museum Adversary. The litigation transition was seamless for the Plan Agent,
            as he retained former counsel for the Committee – that is, SulmeyerKupetz – as
24
            counsel in the pre-consolidated adversary proceedings.
25   Motion, Docket No. 1032 at 15-16 (internal page citation 5-6) (footnotes omitted).
26          In the reply to the Plan Agent’s opposition, the 400 S. La Brea Parties argue:
27
                  In an attempt to divert the Court’s attention from the Committee’s
28          complete failure to diligently investigate the Alleged Pre-Petition Direct Rent


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              Payments, despite documents in their possession as early as 2013 detailing
1
              each of the 22 rent payments, the Plan Agent’s Opposition spares no ink in
2             attempting to argue that he was diligent in his efforts to pursue those claims.

3                    What this argument misses is the fact the Plan Agent was not appointed
              until April 16, 2016 – well after the two-year statute of limitations under section
4
              546(a) expired on February 19, 2015. The Plan Agent’s alleged diligence, or lack
5             thereof, is wholly immaterial in light of the fact that his predecessor, the
              Committee, failed to act diligently to pursue the claims.
6
     Reply, Docket No. 1132 at 26 (internal page citation 21).
7
              As stated earlier, the Plan Agent’s appointment derives from the confirmed plan,
8
     which provides that he succeeds to the interests of the estate, such as its interests in
9
     the pending adversary proceedings, which the Committee was prosecuting on behalf of
10
     the estate, but the plan does not indicate that he is the successor to the Committee in
11
     all relevant respects. As noted earlier, the plan confirmation order of March 18, 2016:
12
     “The Plan Agent is the designated representative of the post-confirmation estate under
13
     section 1123(b)(3) of the Bankruptcy Code and shall succeed to the debtor in
14
     possession as a fiduciary to prosecute Chapter 5 causes of action (and any other
15
     claims) on behalf of the estate.” Main Bankruptcy Case, ECF 1873 at 18. Thus, it is
16
     questionable that the Committee’s actions and knowledge are attributable to the Plan
17
     Agent.
18
              The 400 S. La Brea Parties have not sufficiently addressed the issue of whether
19
     any knowledge that the Committee had regarding the transfers should be imputed to the
20
     current plaintiff in the consolidated adversary proceedings, the Plan Agent, who did not
21
     have standing to bring any causes of action and was not a party until the effective date
22
     of his appointment on April 6, 2016. There are genuine issues of material fact as to
23
     whether the Plan Agent knew about the transfers and failed to exercise diligence in filing
24
     the avoidance claims in the Third Amended Consolidated Complaint in January 2017
25
     Thus, the court determines that partial summary judgment is not appropriate to
26
     determine that the Plan Agent may not rely upon equitable tolling regarding his transfer
27
     avoidance claims as to the Direct Prepetition Rent Transfers as the 400 S. La Brea
28
     Parties have not shown that they are entitled to judgment as a matter of law based on


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1    the Committee’s actions and knowledge to meet their ultimate burden of demonstrating
2    entitlement to partial summary judgment as to equitable tolling. See Nissan Fire &
3    Marine Insurance Co., Ltd. v. Fritz Companies, Inc., 210 F.3d at 1102-1103.
4           Transfer Recovery Claims under 11 U.S.C. § 550
5           In the Third Amended Consolidated Complaint, ECF 69, the Plan Agent alleged a
6    claim against 400 S. La Brea, LLC, as a “Landlord Defendant” pursuant to 11 U.S.C. §
7    550:
                    165. Plaintiff alleges that either Ace Museum, Chrismas, the Landlord
8
            Defendants, OLD Ace NYC, and/or Ace NYC (the “Fraudulent Transferees”) was
9           the initial transferee, the party for whose benefit such transfers were made, or the
            immediate or mediate transferee, of any or each of: (i) the Unauthorized Museum
10          Post-Petition Transfers; (ii) the Ace NYC Prepetition Transfers; (iii) the Ace NYC
            Preferential Transfers; (iv) the Avoidable Post-Petition Transfers; (v) the
11
            Prepetition Rent Transfers; (vi) the Museum Preferential Transfers; and/or (vii)
12          other transfers that remain to be discovered and proven at trial (collectively, the
            "Avoidable Transfers").
13
     In the opposition to the motion, the Plan Agent asserted that such claim was timely
14
     because the statute of limitations on such a claim to recover an avoided transfer does
15
     not begin to run as the court has not entered any order or judgment avoiding such a
16
     transfer and such claim may be brought within one year after the avoidance of such
17
     transfer on account of which recovery under 11 U.S.C. 550 is sought. Opposition, ECF
18
     1097 at 36 (internal page citation 26).
19
            The 400 S. La Brea Parties argue that since the pre-petition transfer avoidance
20
     claims based on the direct rent payments are time-barred, there can be no recovery
21
     actions under 11 U.S.C. § 550 against them, and that therefore, they should be granted
22
     summary adjudication on the eighth claim for relief for recovery of transfer under 11
23
     U.S.C. § 550. Their argument is stated as follows:
24
25          C.     As Summary Judgment is Warranted as to the Alleged Pre-Petition
                   Direct Rent Payments, Summary Judgment is Also Warranted
26                 Against all Pre- Petition Fraudulent Transfer Claims Asserted
                   Directly Against 400 SLB, Except Pre-Petition Recovery Claims
27                 Asserted under 11 U.S.C. § 550
28
                   In his Sixth Amended Complaint, the Plan Agent has included 400 SLB as


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            a defendant to each of his pre-petition fraudulent transfer claims (collectively, the
1
            “Pre-Petition Avoidance Claims”): Second Claim for Relief – Actual Fraudulent
2           Transfer (11 U.S.C. § 544 and Cal. Civil Code § 3439.04(a)(1)); Third Claim for
            Relief – Constructive Fraudulent Transfer (11 U.S.C. § 544 and Cal. Civil Code §
3           3439.04(a)(2)); Fourth Claim for Relief – Constructive Fraudulent Transfer (11
            U.S.C. § 544 and Cal. Civil Code § 3439.05); Fifth Claim for Relief – Actual
4
            Fraudulent Transfer (11 U.S.C. § 548(a)(1)(A)); and Sixth Claim for Relief –
5           Constructive Fraudulent Transfer (11 U.S.C. § 548(a)(1)(B)).

6                  Despite the Plan Agent’s broad inclusion of 400 SLB as a named
7           defendant in each of the Pre-Petition Avoidance Claims, the Plan Agent’s Exhibit
            5 attached to the Sixth Amended Complaint makes it clear that the Plan Agent
8           seeks to avoid only two categories of alleged pre- petition transfers with respect
            to the 400 SLB Defendants: (1) those rent payments made directly by the Debtor
9           to 400 SLB (i.e. the Alleged Pre-Petition Direct Rent Payments); and (2) those
10          rent payments made by non-debtor Ace Museum to 400 SLB. See Sixth
            Amended Complaint, Exh. 5. Because, as discussed herein, 400 SLB is entitled
11          to summary judgment as to the first category (i.e. all Alleged Pre-Petition Direct
            Rent Payments), then it follows that the Plan Agent is left with only pre-petition
12          claims with respect to the second category, which the Plan Agent concedes in his
13          Sixth Amended Complaint were not made by the Debtor, but by non-debtor Ace
            Museum. As such, the underlying transfer the Plan Agent seeks to avoid would
14          be only the initial transfer between the Debtor and Ace Museum. If 400 SLB is
            not a party to an alleged pre-petition avoidable transfer of the Debtor’s assets,
15          then the Plan Agent can only assert against 400 SLB a recovery cause of action
16          under section 550 of the Bankruptcy Code for transfers alleged to have been
            made from Ace Museum to 400 SLB. See e.g., Lippi v. City Bank, 955 F.2d 599,
17          605 (9th Cir.1992) ("[A]voidance and recovery from transferees are distinct
            concepts under bankruptcy law. . . ."). Indeed, the Plan Agent recognizes that he
18
            may only seek recovery claims against parties that were not party to the
19          underlying transfer to be avoided by seeking only section 550 claims against
            Cathay Bank, Dayan, Gharibian and Smith in his Sixth Amended Complaint. See
20          Sixth Amended Complaint, at 87:16-19.
21   Motion, ECF 1032 at 45-46 (internal page citation 35-36; footnote 40 omitted). In
22   footnote 40 in the motion, the 400 S. La Brea Parties contend: “Though summary
23   judgment is warranted as to all Pre-Petition Avoidance Claims – since 400 SLB is not a
24   party to any of the transfers the Plan Agent seeks to avoid – 400 SLB maintains its
25   rights under section 550 to challenge the underlying avoidability of all subject transfers,
26   as the Plan Agent has previously conceded in this Adversary Proceeding: “[Section 550
27   defendants] have a ‘due process rights to contest the avoidability’ of the underlying
28   transfers”. Motion of Plan Agent for Leave to Amend Fourth Amended Complaint



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1    [Docket No. 439], at 10:10-15 (quoting In re Flashcom, Inc. v. Communs. Ventures III,
2    LP (In re Flashcom, Inc.), 503 B.R. 99, 114 (C.D. Cal. 2013).” Id. at 46 (internal page
3    citation 36) n. 40. The underlying assumption of the 400 S. La Brea Parties’ argument
4    is that the only transfers alleged in the Ace Museum complaints were transfers by the
5    Debtor “to” Ace Museum, or only direct transfer, and not on behalf of, or indirect
6    transfers.
7           In response to the argument of the 400 S. La Brea Parties, the Plan Agent
8    argued in his opposition:
9
                   That 400 SLB was not initially named as a defendant on the Prepetition
10          Avoidance Claims is of no legal moment since, unlike a Recovery Claims brought
            under Section 550, which focuses on the transferee, a Prepetition Avoidance
11          Claim—prepetition or post-petition—is an in rem claim that focuses on the
            transfer itself:
12
13                 [T]he question of avoidance under the Bankruptcy Code is separate from
                   the question of recovery. The question of avoidance is focused upon the
14                 transfer and is analyzed with respect to the transferor. Once it is
15                 determined that an avoidable transfer has been made, then the focus
                   shifts to the relief the trustee may obtain as to the property transferred or
16                 the value of the property transferred and from whom.
17          Tabor v. Davis (In re Davis), Nos. 05-15794-L, 07-05152, 2016 Bankr. LEXIS
18          2311 *56-57 (Bankr. W.D. Tenn. June 14, 2016). “[A]voidability is an attribute of
            the transfer rather than of the creditor.” Official Unsecured Creditors Comm. v.
19          United States Nat'l Bank (In re Suffola, Inc.), 2 F.3d 977, 981 (9th Cir. 1993)
            (quoting Levit v. Ingersoll Rand Fin. Corp. (In re V.N. Deprizio Constr.), 874 F.2d
20          1186, 1195-96 (7th Cir. 1989)); see also Woods & Erickson, LLP v. Leonard (In
21          re AVI, Inc.), 389 B.R. 721, 733 (9th Cir. BAP 2008) (“The concepts of avoidance
            and recovery are separate and distinct.”).
22
                    A Bankruptcy Court’s jurisdiction in an avoidance action is in rem
23          jurisdiction, as the action seeks a declaration of avoidance:
24
                   Section 544, "standing alone, operates as a mere declaration of
25                 avoidance", which is an in rem adjudication. See Katz, at 362, 371
                   ("Bankruptcy jurisdiction, at its core, is in rem"). Although the recovery of
26
                   any transfer to ECSU declared to be a fraudulent transfer "might itself
27                 involve in personam process", Katz held that those who crafted the
                   Bankruptcy Clause understood it to allow Congress to authorize courts to
28                 avoid . . . transfers and to recover the transferred property.


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1
           Rescia v. E. Conn. State. Univ. (In re Harnett), 558 B.R. 655, 659-60 (Bankr. D.
2          Conn. 2016) (citing Central Virginia Cmty. Coll. v. Katz, 546 U.S. 356, 126 S. Ct.
           990, 163 L. Ed. 2d 945 (2006)); West v. Freedom Med., Inc. (In re Apex Long
3          Term Acute Care-Katy, L.P.), 465 B.R. 452, 464 (Bankr. S.D. Tex. 2011)
           (following Katz, and holding “[t]here is no serious question that a § 549 cause of
4
           action is within the bankruptcy court's in rem authority.”); Sharp v. SKMP Corp.
5          (In re SK Foods, L.P.), 2011 Bankr. LEXIS 5651 *56 (Bankr. E.D. Cal. October
           11, 2011) (“The Court's in rem jurisdiction extends to property transferred from a
6          debtor pre-bankruptcy which is subject to an avoidance claim.”).
7
                   Section 550(a), which is focused on the transferee, specifies that the
8          parties from whom an avoidable transfer may be recovered include “the initial
           transferee of such transfer or the entity for whose benefit such transfer was
9          made,” or “any immediate or mediate transferee …” 11 U.S.C. § 550(a)-(b). By
10         contrast, Sections 544, 547 and 548, which are focused on the transfer, do not
           specify the identity of any necessary defendant. Because a claim brought under
11         Sections 544, 547 and 548 do not specify a necessary defendant, courts hold
           that a trustee can bring an in rem action to avoid the transfer against any party
12         that is potentially liable under Section 550, and needn’t sue the initial transferee
13         or any other entity from whom a recovery will be sought as a defendant to the
           avoidance action.
14
                    For example, in Kendall v. Sorani (In re Richmond Produce Co.), 195 B.R.
15         455 (N.D. Cal. 1996), the trustee sued parties other than the initial transferee to
16         avoid a fraudulent transfer, and sought to recover that avoided transfer under
           Section 550 from “BanCal,” who was an immediate transferee. The Bankruptcy
17         Court had previously determined that the initial transferee could not be sued
           because of his bankruptcy discharge, leaving the trustee able to sue only
18
           subsequent transferees to avoid the transfer. Kendall v. Sorani (In re Richmond
19         Produce Co.), 151 B.R. 1012, 1016 n.5 Bankr. N.D. Cal. 1993); see also In re
           Richmond Produce, 195 B.R. at 461 (noting that Bankruptcy Court had
20         determined that “Clow,” rather than the named defendants, was found to be the
           initial transferee). BanCal appealed, and argued that the trustee could only
21
           recover from a subsequent transferee if he first avoided the transfer against the
22         initial transferee. BanCal incorrectly construes the "to the extent that a transfer is
           avoided" language in section 550 to mean that in order to recover from a
23         subsequent transferee, the trustee must first successfully avoid the transfer with
24         respect to the initial transferee. Such an interpretation conflates Chapter 11's
           avoidance and recovery sections and contradicts existing Ninth Circuit law.
25         Id. at 463. The Court examined the list of potential defendants in Section 550,
           and found that “[t]he provision contains no language that suggests that recovery
26         from immediate transferees is in any way dependent upon a prior action or
27         recovery against the initial transferee.” Id.

28                The meaning of Richmond Produce is that any party that is potentially



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            liable for recovery of the transfer under Section 550 is a proper defendant for the
1
            avoidance action, whether that defendant is the initial transferee, a subsequent
2           transferee, or the entity for whose benefit the transfer was made. The initial
            transferee may be the most common defendant in an avoidance action, because
3           the initial transferee is also the most common target for a future Recovery Claim,
            but there is no requirement that the initial transferee, or any particular transferee,
4
            be a defendant.
5    Opposition, ECF 1097 at 30-32 (internal page citation 20-22).
6           In the reply to the opposition to the motion, the 400 S. La Brea Parties made
7    explicit their assumption in the motion that they believed that the only actionable
8    transfers in the Ace Museum complaints were “transfers of the Debtor’s funds from the
9    Debtor to Ace Museum.” Reply at 13. As previously discussed, the 400 S. La Brea
10   Parties further argued in their supplemental briefing that the allegations in the original
11   and first amended Ace Museum Adversary Complaints only referred to transfers made
12   from the Debtor to Ace Museum. ECF 1173 at 13 (internal page citation 10). The 400
13   S. La Brea Parties argue that “by seeking to avoid only transfers to Ace Museum, and
14   specifically omitting any reference to any transfers made ‘on behalf of’ Ace Museum, the
15   four corners of each complaint reflect the Committee’s affirmative decision to limit its
16   avoidance claims to transfers from the Debtor to Ace Museum.” Id. The 400 S. La Brea
17   Parties support their argument on this point by citing the court’s decision on the Plan
18   Agent’s motion for leave to amend the sixth amended complaint that the original and
19   first amended complaints in the Ace Museum Adversary “did not allege or refer to
20   transfers to parties other than Ace Museum . . . and did not refer to any rent
21   obligations.” Id. at 9-10.
22          Also, as discussed previously, the counterargument made by the Plan Agent in
23   his supplemental opposition is that:
24
            . . . the plain language of the allegation includes more than just transfers to Ace
25          Museum. In both the “to” and “from” descriptions of transfers in Paragraph 12,
26          there are two methods specified: one in which Ace Museum is transferred or
            obtains funds directly, and a contrasting second method in which it “borrows” or
27          is “lent” funding “otherwise.” In other words, what is contemplated here is not only
            that the Debtor’s money is being transferred directly to Ace Museum, but that it is
28          “otherwise” tallied as a loan or borrowing on behalf of and thereby increasing the


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            debt of Ace Museum. That “otherwise” are transfers made directly to third
1
            persons like 400 SLB on the account of Ace Museum (i.e., the “Transfers”).
2           Those are exactly the prepetition transfers that are detailed more specifically
            later—following a significant amount of forensic examination—in the 6th
3           Amended Complaint.
4    Supplemental Opposition, ECF 1170 at 9 (internal page citation 3).
5           As discussed above, the court finds that the Plan Agent has the better argument
6    on this point because the 400 S. La Brea Parties do not take into account the relevance
7    of 11 U.S.C. § 101(54)(D) which provides that “[t]he term ‘transfer’ means----(D) each
8    mode, direct or indirect, absolute or conditional, voluntary or involuntary, of disposing of
9    or parting with---- (i) property; or (ii) an interest in property.” Under this statutory
10   definition, the alleged Direct Prepetition Rent Transfers from the Debtor to 400 S. La
11   Brea, LLC, to pay the rent of Ace Museum were direct transfers to 400 S. La Brea, LLC,
12   and indirect transfers to Ace Museum because the transfers were transfers of property
13   by the Debtor on behalf of Ace Museum, which benefitted from the payment of its rent
14   obligation. Thus, such indirect transfers “to” Ace Museum could be shown to be some
15   of the Ace Museum Transfers as alleged in the original and first amended Ace Museum
16   adversary complaints as avoidable fraudulent transfers. In other words, the 400 S. La
17   Brea Parties overlook the dual character of the direct rent transfers as not only direct
18   transfers to 400 S. La Brea, LLC, but indirect transfers to Ace Museum in that the
19   Debtor made transfers of funds to pay its rent under its lease with 400 S. La Brea, LLC.
20          As previously noted, the Plan Agent argues the transfer actions are in rem
21   actions, that is, alleging the transfers as opposed to the transferees is the relevant
22   inquiry: “[T]he Bankruptcy Code, and specifically §§ 544(b) and 548, does not identify
23   the proper, necessary or indispensable parties to a fraudulent transfer action, and does
24   not state that the initial transferee is necessary.” In re M. Fabrikant & Sons, Inc., 394
25   B.R. 721, 743 (Bankr. S.D.N.Y. 2008) (in rem causes of action). He thus argues that if
26   the claims to avoid transfers are timely, the statute of limitations to file 11 U.S.C. § 550
27   claims has not expired. Pursuant to 11 U.S.C. § 550(f)(1), “An action or proceeding
28   under this section may not be commenced after the earlier of one year after the



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1    avoidance of the transfer on account of which recovery under this section is sought.”
2           Based on the plain language of 11 U.S.C. § 550(a), if a transfer is avoided under
3    11 U.S.C. §§ 544 and/or 548, the Plan Agent can recover transferred property or the
4    value of such property under 11 U.S.C. § 550 against a transferee of an initial
5    transferee. 11 U.S.C. § 550(a)(1) and (2) provide:
6
            to the extent that a transfer is avoided under section 544, 545, 547, 548, 549,
7           553(b), or 724(a) of this title, the trustee may recover, for the benefit of the
            estate, the property transferred, or, if the court so orders, the value of such
8           property, from--(1) the initial transferee of such transfer or the entity for whose
            benefit such transfer was made; or (2) any immediate or mediate transferee of
9
            such initial transferee.
10   11 U.S.C. § 550(a)(1) and (2). The language of 11 U.S.C. § 550 does not require a
11   trustee to successfully avoid a transfer with respect to the initial transferee in order to
12   recover from a subsequent transferee under 11 U.S.C. § 550. In re Richmond Produce
13   Co., Inc., 195 B.R. 455, 463 (N.D. Cal. 1996); see Woods & Erickson, LLP v. Leonard
14   (In re AVI, Inc.), 389 B.R. 721, 735 (9th Cir. BAP 2008) (“[T]rustee is not required to
15   avoid the initial transfer from the initial transferee before seeking recovery from
16   subsequent transferees under § 550(a)(2).”) Thus, the Plan Agent may assert a
17   recovery action against the 400 S. La Brea Parties under 11 U.S.C. § 550, even if there
18   are no avoidance claim against 400 S. La Brea, LLC itself, if 400 S. La Brea, LLC, and
19   its principals, received transfers of the Debtor’s funds. That is, if the Plan Agent is
20   successful on his claims to avoid the transfers to Ace Museum, including indirect
21   transfers to Ace Museum through direct transfers to 400 S. La Brea, LLC, then the Plan
22   Agent may seek to recover the avoided transfers from the transferees, including 400 S.
23   La Brea, LLC, and its principals. The recovery claims are not solely limited to direct
24   transfers from the Debtor to Ace Museum.
25          Accordingly, the court determines that partial summary judgment in favor of the
26   400 S. La Brea Parties is not appropriate as to the Plan Agent’s recovery claims against
27   them pursuant to 11 U.S.C. § 550.
28



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1           Preferential Transfer Avoidance Claims against 400 S. La Brea, LLC
2           400 S. La Brea, LLC seeks partial summary judgment on the Plan Agent’s
3    seventh claim for relief against it in the Sixth Amended Consolidated Complaint based
4    on alleged pre-petition preferential transfers. 400 S. La Brea, LLC, argues:
5
                   In his Seventh Claim for Relief asserted in the Sixth Amended Complaint,
6           the Plan Agent makes a vague and conclusory assertion that 400 SLB is
            allegedly the recipient of unspecified preferential transfer(s) under section 547 of
7           the Bankruptcy Code, as follows:
8
                           239. Plaintiff is informed and believes, and based thereon alleges,
9                  that at least one or more of the Prepetition Rent Transfers occurred within
                   one year prior to the Petition Date, and of the Prepetition Rent Transfers,
10                 certain were made within 90 days or one year prior to the Petition Date
11                 (the “La Brea Preferential Transfers”).
     Motion, ECF 1032, at 46 (internal page citation 36), quoting, Sixth Amended Complaint,
12
     ¶ 239. Paragraph 240 of the Sixth Amended Consolidated Complaint, ECF 699,
13
     alleges:
14
15                240. Plaintiff is informed and believes, and based thereon alleges, that
            each of the La Brea Preferential Transfers was made on account of an
16          antecedent debt owed by the Debtor before such transfer was made.
17   In this seventh claim for relief, the Plan Agent seeks to recover alleged preferential
18   transfers made by Ace Museum, with Debtor’s funds, to 400 S. La Brea, LLC.
19          400 S. La Brea, LLC, argues:
20
                   A necessary element to any preference claim under section 547(b) of the
21          Bankruptcy Code is that an alleged transfer is made “for or on account of an
            antecedent debtor owed by the Debtor before such transfer was made.” 11
22          U.S.C. § 547(b)(2). Nowhere in the voluminous Sixth Amended Complaint is it
23          asserted that prior to the Petition Date, the Debtor owed 400 SLB an antecedent
            debt. Rather, as discussed above, the Sixth Amended Complaint details the
24          lease relationship between Ace Museum and/or Mr. Chrismas, on the one hand
            and 400 SLB on the other, and it further alleges that all transfers detailed in
25          Exhibit 5 were transfers for rent on account of that lease relationship. See Sixth
26          Amended Complaint, ¶¶ 36-37, 46. In this factual context, any preference claim
            against 400 SLB lacks any plausibility and therefore summary judgment is
27          appropriate.
28   Motion, ECF 1032, at 47-48 (internal page citation 37 and 38),



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1           The court agrees with 400 S. La Brea, LLC’s argument that Plan Agent cannot
2    recover under 11 U.S.C. § 547 because this section only allows the trustee to recover
3    “on account of an antecedent debt owed by the debtor before such transfer was made.”
4    11 U.S.C. § 547(b)(2). The uncontroverted evidence shows that Ace Museum, not the
5    Debtor, owed the antecedent debt, i.e., rent, to 400 S. La Brea, LLC. The plain
6    language of 11 U.S.C. § 547(b)(2) specifies that the claim must be for a debt owed by
7    Debtor. There is no factual dispute that the Debtor itself did not owe a debt to 400 S. La
8    Brea, LLC, and the Plan Agent does not argue to the contrary in his opposition to the
9    motion. ECF 1097 and 1170. Accordingly, the court determines that 400 S. La Brea is
10   entitled to summary adjudication in its favor that the Plan Agent cannot prevail on his
11   preferential transfer claim against it as there is no genuine issue of material fact that
12   there is no antecedent debt of the Debtor and that 400 S. La Brea, LLC, is entitled to
13   judgment as a matter of law. Since not all the parties to the motion for partial summary
14   judgment consent to the jurisdiction of the bankruptcy court to enter a final judgment,
15   the bankruptcy court will recommend to the United States District Court that summary
16   adjudication in favor of 400 S. La Brea be entered on the Plan Agent’s seventh claim for
17   relief in the Sixth Amended Consolidated Complaint. If the 400 S. La Brea Parties
18   consent to allow the court to enter final judgment on the Plan Agent’s preferential
19   transfer claim against 400 S. La Brea, LLC, under 11 U.S.C. § 547, the court can enter
20   a final judgment on such claim pursuant to Federal Rule of Bankruptcy Procedure 7054
21   making Federal Rule of Civil Procedure 54(b) applicable to this adversary proceeding
22   based on an express determination that there is no just reason for delay in entering a
23   final judgment on this claim as to 400 S. La Brea, LLC. Otherwise, the court will issue a
24   report and recommendation to the United States District Court that partial summary
25   judgment be granted on this claim when the court refers the remaining claims in this
26   adversary proceeding to the District Court for trial, so that a final judgment by that court
27   can be entered on this claim along with the entry of final judgment on the other
28   remaining claims in this adversary proceeding, whenever that may be.



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1             Conversion Claim against 400 S. La Brea, LLC
2             The eleventh cause of action for conversion against 400 S. La Brea alleges that
3    400 S. La Brea “. . . actively and wrongfully took possession of sale proceeds from the
4    sale of artworks and other property that were property of the Debtor’s estate, and which
5    total millions of dollars in value . . .” Sixth Amended Consolidated Complaint, ECF 699,
6    ¶ 257.
7
              The 400 S. La Brea Parties argue:
8
                     Similar to the Plan Agent’s attempt to include 400 SLB in his implausible
9             preference cause of action, the Plan Agent also – without any supporting factual
              or evidentiary basis whatsoever – attempts to lump 400 SLB with Mr. Chrismas,
10
              Ace New York and Ace Museum in his Eleventh Cause of Action for conversion.
11            To support this very serious allegation against 400 SLB, the Plan Agent very
              generally alleges in paragraph 257 of the Sixth Amended Complaint:
12
13                         257. Prior to the Petition Date, and throughout the Bankruptcy Case
                    through to the Effective Date, defendants Chrismas, Ace Museum, Ace
14                  NYC, OLD Ace NYC, and 400 S. La Brea (collectively, the “Conversion
                    Defendants”), actively and wrongfully took possession of sale proceeds
15                  from the sale of artworks and other property that were property of the
16                  Debtor’s estate, and which total millions of dollars in value (collectively,
                    including any further acts of conversion that may be discovered in the
17                  course of the Plan Agent’s investigation, the “Converted Property”).
18                    Without more, it is nearly impossible to discern what falls under the
19            definition of “Converted Property” with respect to 400 SLB. Viewing the
              allegations of the Sixth Amended Complaint in their entirety, the only inference
20            that can be drawn is that the Plan Agent is attempting to make the remarkable
              assertion that 400 SLB somehow converted the rent payments it received, as
21            detailed in Exhibit 5 to the Sixth Amended Complaint.
22   Motion, ECF 1032 at 48 (internal page citation 38).
23
              The 400 S. La Brea Parties thus argue:
24
                    It is undisputed that the rent paid to 400 SLB were voluntarily payments
25
              made to, and accepted by, 400 SLB pursuant to the terms of the lease between
26            Ace Museum and 400 SLB. See Sixth Amended Complaint, ¶¶ 36-37, 46. Based
              on these undisputed facts, 400 SLB became the owner of the rent payments
27            once made pursuant to the terms of the lease, and consequently, neither the
              Debtor, Ace Museum, Mr. Chrismas, nor any other party could “assert an
28
              ownership or right to possession” over the rent payments made, as is a required


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            element of conversion. See Hartford Fin. Corp. v. Burns, 96 Cal. App. 3d 591,
1
            598 (1979) (“To mandate a conversion action … [plaintiff] must show that she
2           was entitled to immediate possession at the time of conversion.”); In re
            Alexander, 19 B.R. 149, 151 (Bankr. D. Or. 1981) (“A person cannot convert his
3           own property and an action for conversion can only be maintained by one who at
            the time of the conversion had either a general or special ownership in the
4
            property.”).
5
                    Furthermore, even assuming arguendo that Mr. Chrismas utilized the
6           funds and property of the Debtor to ultimately make those rent payments owed to
7           400 SLB, that allegation, alone, is insufficient to support a conversion cause of
            action against 400 SLB. There is no dispute that Mr. Chrismas was the sole
8           officer of the Debtor, Ace New York and Ace Museum at the time of the alleged
            rent payments to 400 SLB – indeed, the Sixth Amended Complaint alleges those
9           precise facts. Sixth Amended Complaint, ¶ 14. As such, Mr. Chrismas
10          necessarily possessed the requisite corporate authority to cause those entities to
            voluntarily make any transfers and/or rent payments. A voluntary transfer cannot
11          constitute conversion, even if such transfer may be avoidable on other grounds.
            In re Delano Retail Partners, LLC, No. 11-37711-B-7, 2014 WL 4966476, at *11–
12          12 (Bankr. E.D. Cal. Sept. 29, 2014) (granting summary judgment for defendant
13          on conversion claim in light of fact that sole member of debtor authorized the
            subject transactions); In re Lau Capital Funding, Inc., 321 B.R. 287, 304 (Bankr.
14          C.D. Cal. 2005) (“A transfer that is voluntary is not wrongful because a voluntary
            transfer is consensual and thus, is not wrongful.”); In re Intelligent Direct Mktg.,
15          518 B.R. 579, 591 (E.D. Cal. 2014) (same).
16   Motion, ECF 1032, at 49-50 (internal page citation 39-40).
17          “Conversion is ‘an act of willful interference with a chattel, done without lawful
18   justification, by which any person thereto is deprived of use and possession.’”
19   Yellowcake, Inc. v. Morena Music, Inc., 522 F.Supp.3d 747, 774 (E.D. Cal. 2021),
20   quoting De Vries v. Brumback, 53 Cal.2d 643, 647, 2 Cal.Rptr. 764, 349 P.2d 532
21   (1960). “Stated differently, conversion is ‘the wrongful exercise of dominion over the
22   property of another.’” Id. quoting Lee v. Hanley, 61 Cal.4th 1225, 1240 (2015).
23          Under California law, the elements of a conversion claim are: (1) the plaintiff’s
24   ownership or right to possession of the property; (2) the defendant’s conversion by a
25   wrongful act or disposition of property rights; and (3) damages. Lee v. Hanley, 61
26   Cal.4th 1225, 1240 (2015) (citation omitted). “Conversion is a strict liability tort. The
27   foundation of the action rests neither in the knowledge nor the intent of the defendant.
28   Instead, the tort consists in the breach of an absolute duty; the act of conversion itself is


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1    tortious. Therefore, questions of the defendant's good faith, lack of knowledge, and
2    motive are ordinarily immaterial.” Burlesci v. Petersen, 68 Cal.App.4th 1062, 1066
3    (1998), citing, Moore v. Regents of University of California, 51 Cal.3d 120, 144, and n.
4    38 (1990) and Oakdale Village Group v. Fong, 43 Cal.App.4th 539, 543-544 (1996).
5          Based on the allegations in the complaint and elements of conversion, the court
6    cannot grant partial summary judgment on the conversion claim as to 400 S. La Brea,
7    LLC, because there are genuine issues of material fact that Chrismas improperly sold
8    Debtor’s artwork and diverted the sales proceeds and that the sales proceeds were
9    used to pay rent to 400 S. La Brea, LLC, for Ace Museum, that 400 S. La Brea, LLC,
10   collected rent under their lease agreement with Ace Museum, that 400 S. La Brea, LLC,
11   had knowledge that Ace Museum did not have sufficient assets of its own to pay rent
12   and that rent had come from other sources, including the Debtor, and that 400 S. La
13   Brea, LLC, had reason to know that the rent may not have come from a proper source.
14   The court has determined as to Chrismas, he is liable for conversion because he
15   caused Debtor to sell its artwork and diverted the sales proceeds from the Debtor,
16   which evidence shows that it went to pay rent to 400 S. La Brea, for Ace Museum, and
17   while the facts of conversion by Chrismas are disputed by the 400 S. La Brea Parties,
18   there is evidence identified by the Plan Agent that 400 S. La Brea, LLC, and its agents
19   in collecting the rent for Ace Museum had knowledge that Ace Museum did not have
20   sufficient assets to pay its own rent, that rent had come from other sources, including
21   Debtor, and had reason to know that the rent had not come from a proper source, and
22   thus could be found to be wrongful to receive. Supplemental Statement of Genuine
23   Disputes of Material Fact and Conclusions of Law, ECF 1171, Additional Asserted
24   Uncontroverted Facts, Nos. 189-223, and evidence cited therein.
25         At oral argument on the motion, counsel for the 400 S. La Brea Parties based his
26   argument that they are entitled to summary adjudication on the Plan Agent’s conversion
27   claim in part on a newly cited case not discussed in the briefing in Bank of New York v.
28   Fremont General Corp., 523 F.3d 902 (9th Cir. 2008), which had stated that “[a] plaintiff



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1    in a conversion action must also prove that it did not consent to the defendant’s
2    exercise of dominion.” 5235 F.3d at 914, citing, Farrington v. A. Teichert & Son, Inc., 59
3    Cal.App.2d 468 (1943). In response, the Plan Agent argues:
4
                   While it may be true ipso facto that a truly voluntary gift is not a
5          conversion, the facts here concerning the “consent” are heavily disputed,
           particularly regarding whether 400 SLB was aware that it was receiving funds
6          improperly from an insolvent entity. Summary judgment is not appropriate if there
           is a disputed question of fact as to consent. Cf. Bailey v. County of San Joaquin,
7
           671, F.Supp.2d 1167, 1179 (E.D. Cal. 2009) (“While a reasonable interpretation
8          of the facts, plaintiffs have demonstrated that a reasonable jury could also find
           that Kari did not ratify the conversion … Consequently, the jury could conclude
9          that Kari in no way approved the actions of the defendant in taking possession of
10         her property.”). Plan Agent contends that the Debtor was insolvent pre-petition.
           400 S. La Brea argues otherwise. This issue is subject to competing expert
11         opinions that will be addressed during expert discovery and the trial. “[T]he
           insolvency of a corporation creates an express trust under California’s ‘trust fund
12         doctrine.’ [A] director of a insolvent corporation is a fiduciary whose obligation ‘is
13         designed for the protection of the entire community of interests in the
           corporation—creditors as well as stockholders’ [A]ll of the assets of a
14         corporation, immediately upon its becoming insolvent, become a trust fund for
           the benefit of all of its creditors.’” In re Houng, 499 B.R. 751, 767 (C.D.Cal. 2013)
15         (citations omitted). “[T]he fact of insolvency fundamentally alters the relationship
16         between a corporation, its shareholders and its creditors. As a result, a new
           fiduciary relationship arises running from the directors of the insolvent
17         corporation in favor of the corporation’s creditors.” In re JTS Corp., 305 B.R. 529,
           539 (N.D.Cal. 2003).
18
19                Accordingly, if Chrismas consented to the wrongful taking of Debtor’s
           property during insolvency, that consent cannot be imputed to the Debtor. In re
20         Western World Funding, Inc., 52 B.R. 743, 773 (D.Nev. 1985) (“When the
           defense of ratification is raised, [Trustee] may invoke the ‘trust fund’ doctrine, i.e.,
21
           since creditors are also beneficiaries of the fiduciary duty when the corporation is
22         insolvent, or its insolvency is imminent, the consent or ratification of co-
           beneficiaries does not bind those who did not consent.”). That is, because of
23         Chrismas’s breach of fiduciary duty to the creditors, his consent to the taking of
           property cannot be imputed to Debtor.
24
25                 Finally, the Plan Agent has proffered evidence during both pre and post-
           petition periods that (1) that 400 SLB knew at the outset that the funds were
26         coming from a party other than the Lessee, Ace Museum, that was controlled by
27         Chrismas, namely the debtor (Sorensen Ex. 24); (2) that 400 SLB was knowingly
           accepting funds while understanding that they may have been improperly
28         obtained, see Opp. At 42 (1/17/2014 email, Sorensen Ex. 42) (where 400 SLB
           expresses worry about “bad shit” the Doug Chrismas is doing); and (3) that 400


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            SLB demanded that payments come from Debtor and not the actual Lessee
1
            because the actual Lessee kept bouncing checks (Sorensen Ex. 36 Dep.).
2
                   The sum of these proffered facts is that any payments from the Debtor
3           were not “voluntary” because Mr. Chrismas “consented” to his own fraud.
            Consent obtained by fraud does not suffice to excuse conversion. City of Los
4
            Angeles by and through Department of Water and Power v. Asplundh
5           Construction Corporation, 2012 WL 12941957, at * 6 (C.D. Cal. 2012) (“Because
            DWP’s consent was allegedly obtained by Boiner’s fraudulent misrepresentations
6           as to the amount of copper wire needed, Bank of New York is factually
7           distinguishable. Unlike the bank supervisors in that case, who knew all of the
            relevant facts and nonetheless authorized the withdrawals, here, based on the
8           allegations in the complaint, DWP did not know that Boiner was requesting more
            wire than required to complete the agreed-upon work.”) (citing Carter v. United
9           States, 1982 WL 1953, at *7 (N.D. Cal. 1981) (“[I]t is well established under
10          California law that if the owner of property consents to its taking, but the consent
            is acquired by fraud, the taking amounts to a conversion.”)
11
                    A jury is entitled to weigh those facts to determine whether or not 400 SLB
12          intentionally converted the funds. To argue that a fraudster “voluntarily”
13          embezzled funds is no defense but 400 SLB will have make that defense to a
            fact finder.
14
     Supplemental Opposition, ECF 1170 at 17-19 (internal page citation 11-12).
15
            The court agrees with the Plan Agent that there are genuine issues of material
16
     fact on the conversion claim that should not be decided on partial summary judgment.
17
     Collection of rent per se is not a wrongful act, and 400 S. La Brea was authorized to
18
     collect rent payments under the terms of the lease agreement. However, as the court
19
     has determined, Chrismas is liable for conversion by selling Debtor’s artwork and
20
     diverting the proceeds to pay nondebtor parties, including the rent for Ace Museum to
21
     400 S. La Brea, LLC. See Report and Recommendation of United States Bankruptcy
22
     Court to United States District Court on Plaintiff’s Motion for Summary Judgment on
23
     Claims against Defendant Douglas Chrismas for Conversion and Breach of Fiduciary
24
     Duty, ECF 1244, filed on February 16, 2022; see also, Plan Agent’s Statement of
25
     Genuine Issues, ECF 1098, Asserted Additional Facts Nos. 53-62 and evidence cited
26
     therein. As stated previously, conversion is a strict liability tort, and the Plan Agent has
27
     submitted evidence that is probative that 400 S. La Brea’s principals or agents knew the
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1    funds did not belong to Ace Museum, but continued to collect the rent which could be
2    considered a wrongful act. See Plan Agent’s Statement of Genuine Issues, ECF 1098,
3    Asserted Additional Facts Nos. 189-212 and evidence cited therein. Specifically, if 400
4    S. La Brea’s principals and agents knew that if rent funds then came from the Debtor,
5    which was insolvent, as Chrismas was not permitted to divert its funds as an insolvent
6    entity under the “trust fund” doctrine for his personal benefit as an insider, which funds
7    could have been used to pay creditors. See also, Berg & Berg Enterprises, LLC v.
8    Boyle, 178 Cal.App.4th 1020, 1040-1041 (2009). Thus, the evidence as to whether
9    there was a wrongful act by 400 S. La Brea, LLC to support a conversion claim raises
10   triable issues of material fact to preclude partial summary judgment on the issues
11   relating to conversion. The court determines that the Plan Agent has met his burden of
12   producing enough evidence to demonstrate genuine issues of material fact based on
13   adequate evidence precludes the granting of partial summary judgment on his
14   conversion claim against 400 S. La Brea, LLC. Accordingly, the court determines that it
15   should deny partial summary judgment on the eleventh claim for relief for conversion as
16   to 400 S. La Brea, LLC.
17                                    CONCLUSION AND ORDER
18          For the foregoing reasons, the court rules on the motion for partial summary
19   judgment as follows:
20          1. The motion is granted in part in that the motion is granted on the seventh
21             claim for avoidance of preferential transfers in the Sixth Amended
22             Consolidated Complaint as to 400 S. La Brea, LLC. However, in the absence
23             of consent of 400 S. La Brea, LLC, to the bankruptcy court’s jurisdiction to
24             enter a final judgment on this claim, the court does not enter a final order
25             granting partial summary judgment as to this claim in favor of 400 S. La Brea,
26             LLC, and will recommend that partial summary judgment in favor of 400 S. La
27             Brea, LLC, on this claim be granted in a report and recommendation to the
28             United States District Court when the other claims are referred to that court



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1              for trial. However, if 400 S. La Brea, LLC, files a written consent to the
2              bankruptcy court entering a final judgment on the seventh claim for relief in
3              the Sixth Amended Consolidated Complaint as to it, the court will enter a final
4              judgment on that claim as to 400 S. La Brea, LLC, pursuant to Federal Rule
5              of Bankruptcy Procedure 7054 and Federal Rule of Civil Procedure 54(b)
6              expressly determining that there is no just reason for delaying entry of final
7              judgment on such claim as to 400 S. La Brea, LLC.
8          2. The motion is denied in part in that the motion is otherwise denied.
9          IT IS SO ORDERED.
10                                             ###
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          Date: March 31, 2022
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